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                                     EXHIBIT B

                                 Deutchman Declaration




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                               Chapter 11
BAYOU STEEL BD HOLDINGS, L.L.C., et al.,1
                                                               Case No. 19-12153 (KBO)
                 Debtors.
                                                               (Jointly Administered)


             DECLARATION OF CHARLES S. DEUTCHMAN IN SUPPORT OF THE
              MOTION OF THE DEBTORS TO RETAIN SHARED MANAGEMENT
             RESOURCES, LTD. AND DESIGNATE CHARLES S. DEUTCHMAN AS
                CHIEF RESTRUCTURING OFFICER PURSUANT TO 11 U.S.C.
               §§ 105(A) AND 363(B), NUNC PRO TUNC TO OCTOBER 19, 2019

I, Charles S. Deutchman, hereby declare under penalty of perjury that:

          1.     I am the Managing Director of Shared Management Resources, Ltd. (“SMR”), a

restructuring/financial advisory services firm with an office located at 28026 Gates Mills

Boulevard, Pepper Pike, Ohio 44124. I submit this Declaration on behalf of SMR (the

“Deutchman Declaration”) in support of the Motion of the Debtors to Retain Shared

Management Resources, Ltd. and Designate Charles S. Deutchman as Chief Restructuring

Officer Pursuant to 11 U.S.C. §§ 105(a) and 363(b), Nunc Pro Tunc to October 19, 2019 (the

“Motion”).2 Except as otherwise noted, I have personal knowledge of the matters set forth

herein.

A.        Disinterestedness and Eligibility




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984), BD Bayou Steel
Investment, LLC, a Delaware limited liability company (1222), and BD LaPlace, LLC, a Delaware limited liability
company (5783). The location of the Debtors’ mailing address is 138 Highway 3217, LaPlace, Louisiana, 70068.
2
 Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
Motion.


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         2.     SMR utilizes certain procedures (the “Firm Procedures”) to determine its

relationships, if any, to parties that may have a connection to the Debtors in this Chapter 11 Case.

In implementing the Firm Procedures, the following actions were taken to identify parties that

may have connections to the Debtors and to determine SMR’s relationship with such parties:

                (a)     The Debtors provided SMR with extensive lists of interested parties and
                        significant creditors (the “Potential Parties in Interest”).3 The list of
                        Potential Parties in Interest that SMR reviewed is annexed hereto as
                        Schedule A. The list of Potential Parties in Interest reviewed includes,
                        among others, the Debtors and its known affiliates, prepetition lenders,
                        current and former officers and directors, unsecured creditors, significant
                        litigation parties, parties holding ownership interests in the Debtors and
                        various professionals related to the proposed engagement.

                (b)     SMR then compared the names of each of the Potential Parties in Interest
                        to the names in SMR’s database of current and former clients (the “Client
                        Database”). The Client Database generally includes the name of each
                        client of SMR, the name of each party who is or was known to be adverse
                        to such client in connection with SMR’s representation of such client, and
                        the name of each party that has, or has had, a substantial role with regard
                        to the subject matter of the SMR’s representation.

                        (c)     Known connections between former or recent clients of SMR and
                                the Potential Parties in Interest were intended to be compiled for
                                purposes of preparing this Declaration. There are no connections to
                                disclose as part of this engagement.

         3.     Moreover, as a result of the Firm Procedures, I have thus far ascertained that,

except as may be set forth herein, upon information and belief, SMR:

                (d)     is not a creditor of the Debtors (including by reason of unpaid fees for
                        prepetition services) or an equity security holder of the Debtors;

                (e)     is not and has not been, within two (2) years before the date of the filing of
                        the petition, a director, officer (other than by virtue of SMR employees
                        serving in the roles sought to be approved by the Court, both prepetition
                        and postpetition, as described in the Motion ), or an employee of the
                        Debtors; and



3
  As may be necessary, SMR will supplement this Declaration if it becomes aware of a relationship that may
adversely affect SMR’s retention in these Chapter 11 Cases or would otherwise require disclosure.


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                (f)    does not have any interest materially adverse to the interests of the
                       Debtors’ estates, or of any class of creditors or equity security holders, by
                       reason of any direct or indirect relationship to, connection with, or interest
                       in, the Debtors, or for any other reason.

         4.     As part of its practice, SMR appears in numerous cases and proceedings, and

participates in transactions that involve many professionals, including attorneys, accountants,

and financial consultants, who represent claimants and parties in interest, some of which may be

involved in the Debtors’ Chapter 11 Cases. Further, SMR has performed in the past, and may

perform in the future, advisory consulting services for various attorneys and law firms, and has

been represented by several attorneys and law firms, some of which may be involved in these

Chapter 11 Cases. Based on my current knowledge of the professionals involved, and to the best

of my knowledge, none of these relationships create interests materially adverse to the Debtors in

matters upon which SMR is to be retained, and none are in connection with these Chapter 11

Cases.

B.       Background to Engagement

         5.     On or about October 19, 2019, SMR agreed to be retained and Deutchman agreed

to be designated to serve as CRO, pursuant to the terms and conditions set forth in the

engagement letter dated October 19, 2019 (the “Engagement Letter”) attached to the Motion as

Exhibit C and incorporated herein by reference. Since that time, SMR has spent considerable

time and effort understanding the Debtors’ business, the marketplace in which the Debtors

operate, and evaluating the Debtors’ operations with the employees and board of directors.

         6.     If any new material relevant facts or relationships are discovered or arise, SMR

will promptly file a supplemental declaration.

C.       Compensation




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         7.      Subject to Court approval of the Motion and in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, applicable U.S. Trustee guidelines,

and the Local Rules, SMR will receive $2,500.00 per day, plus travel time outside of normal

workday hours, which shall be paid at the rate of $160.00 per hour. In addition, SMR will be

reimbursed for all reasonable and necessary out-of-pocket expenses, including travel, meals,

lodging, postage, telephone, document reproduction, and other direct expenses.

         8.      In accordance with the terms of the Engagement Letter and as a material part of

the consideration for which SMR and Deutchman have agreed to provide services, the Debtors

have agreed to indemnify Deutchman for acting as an officer of the Debtors under the corporate

bylaws and applicable state law and to the same extent as the most favorable indemnification the

Debtors extend to their officers and directors and to cover Deutchman under the Debtors’

director and officer liability policies. The rights to indemnification shall survive the termination

of this Chapter 11 Case or any case into which it may be converted.

         9.      To the best of my knowledge, (a) no commitments have been made or received by

SMR with respect to compensation or payment in connection with these Chapter 11 Cases other

than in accordance with applicable provisions of the Bankruptcy Code and the Bankruptcy Rules,

and (ii) SMR has no agreement with any other entity to share with such entity any compensation

received by SMR in connection with these Chapter 11 Cases.

         10.     By reason of the foregoing, I believe SMR is eligible for retention by the Debtors

pursuant to Bankruptcy Code sections 105(a) and 363(b) and the applicable Bankruptcy Rules

and Local Rules.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.

Dated: October 30, 2019                          /s/ Charles S. Deutchman
       Pepper Pike, Ohio                         Charles S. Deutchman
                                                 Managing Director
                                                 Shared Management Resources, Ltd.




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                                  SCHEDULE A

                             Potential Parties in Interest




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                                     List of Potential Parties in Interest

Debtors and non-debtor affiliates        Golden Properties c/o Hero Lands       Atmos Energy
Bayou Steel BD Holdings, L.L.C.          Company                                Centerpoint Energy Services Inc.
BD Bayou Steel Investment, LLC           Leetsdale Industrial Corporation       City Of Tulsa Utilities
BD LaPlace, LLC                          Taylor Leasing and Rental              Columbia Gas of Pennsylvania
                                         The City of Tulsa-Rogers Country       Comcast
Holders of more than five percent        Port Authority                         Comcast Cable
(5%) of the Debtors’ equity              Trinity Industries Leasing Company     Comed
securities                                                                      Direct Energy
Bayou Steel BD Holdings II, L.L.C.       Debtors' benefits providers,           Entergy
                                         insurers and insurance brokers         Harriman Utility Board
Debtors’ secured lenders and             Arthur J. Gallagher Risk               Public Service Company of
their counsel                            Blue Cross Blue Shield of Louisiana    Oklahoma
Bank of America, N.A.                    Endurance American Specialty           Republic Services #264
Black Diamond Commercial                 Insurance Co.                          Republic Services #721
Finance, LLC                             Federal Insurance Company              Reserve Telecommunications
Entergy Louisiana LLC                    (Chubb)                                Roane Co. Public Utility
Fox Rothschild LLP                       Hidalgo Health Associates              Rockwood
Layton & Finger, P.A.                    HM Insurance Group, Inc.               Shell Energy North America
Suntrust Bank                            Humana Dental Insurance Co.            St. John the Baptist Parish
Travelers Indemnity Company              Insurance Company of State of PA       Verizon Wireless
Trinity Rail                             (AIG)                                  Waste Connections of Louisiana
Vinson & Elkins LLP                      Lexington Insurance Company Risk       Waste Connections of Tennessee
                                         Specialists Companies                  Waste Management of Kentucky
Debtors’ taxing authorities              Lincoln Financial Group
Bureau of Revenue and Taxation,          Lloyd’s Syndicates 623/2623            Parties adverse to the Debtors in
Property Tax-Division (Jefferson         (Beazley)                              litigation
Parish, Louisiana)                       Metropolitan Life Insurance Co.        Albert Bailey
City of Harriman                         Mutual of Omaha Insurance              David Kliebert
City of Rockwood                         Company                                George Jackson
Cook County Treasurer                    P&A Group                              James Darvy
Delaware Secretary of State              Travelers Property Casualty            Kevin Simmons
Florida Department of Revenue            Company of America                     Paul Tanner
Florida Department of Revenue            Wageworks, Inc.                        Robert J Armstrong, III
Reemployment Tax                         XL Insurance America, Inc.             Willie Benson
Gregory Champagne Tax Collector
Illinois Secretary of State,             Debtors' proposed bankruptcy           United States Bankruptcy Judges
Department of Business Services,         advisors, attorneys, and other         in the District of Delaware
Limited Liability Division               professionals                          Chief Judge Christopher S. Sontchi
Jefferson Parish Sheriff's Office,       Benesch, Friedlander, Coplan &         Judge John T. Dorsey
Bureau of Revenue and Taxation,          Aronoff LLP                            Judge Kevin Gross
Sales Tax Division                       Candlewood Partners, LLC               Judge Karen B. Owens
Louisiana Department of Revenue          Kurtzman Carson Consultants LLC        Judge Brendan L. Shannon
Louisiana Secretary of State             Polsinelli PC                          Judge Laurie Selber Silverstein
Oklahoma Secretary of State                                                     Judge Mary F. Walrath
Roane County Trustee                     Debtors’ directors and officers
Roger Country Treasurer                  Bob Unfried
St. John Parish Tax Collector            Rob Archambault
St. John the Baptist Parish, Sales       Terry Taft
and Use Tax Office
Tennessee Department of Revenue          Debtors’ cash management banks
Tennessee Secretary of State             Bank of America N.A.
Texas Comptroller of Public              First National Bank Omaha
Accounts                                 JP Morgan Chase, N.A.
Washington State Department of
Revenue
                                         Debtors’ utility providers
                                         Air Liquide Large Ind. US LP
Debtors’ lessors                         AT&T
American State Equipment                 AT&T Teleconference




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United States Trustees for the       AZZ Galvanizing - Morgan City         Gunderson Concarril Sa De C.V.
District of Delaware and their       Bay Steel Corporation                 Gunderson, LLC
attorneys                            Benner Metals Corporation             Hannibal Industries
Andy Vara                            Berman Bros. Inc.                     Harbor Steel & Supply Corp
T. Patrick Tinker                    Bermco Aluminum                       Henderson Steel Corporation
Lauren Attix                         Bermco Aluminum                       High Steel Service Center Inc.
David Buchbinder                     Besco Steel Supply, Inc.              Highway Safety & Design
Linda Casey                          Birmingham Rail & Locomotive          Hoover Steel Inc.
Holly Dice                           BMG Metals, Inc.                      Hughes Brothers Inc.
Linda Richenderfer                   Borrmann Metal Center                 Huron Valley Steel Corporation
Shakima L. Dortch                    Boyd Metals                           Industrial Steel Serv. Ctr. Inc.
Timothy J. Fox, Jr.                  Brecheen Pipe & Steel                 Infra Metals Co
Diane Giordano                       Brown Strauss Steel                   Infra Metals Company (GA)
Christine Green                      Bushwick Metals LLC                   Infra Metals Company (IL)
Benjamin Hackman                     C.C.C. Steel Inc.                     Infra Metals Company (PA)
Jeffrey Heck                         Camdenton Steel Supply Inc.           Infra-Metals Co
Jane Leamy                           Canam Steel Corporation (Mo)          Infra-Metals Company (FL)
Hannah M. McCollum                   Canam Steel Corporation (Md)          Interstate Steel & Metals, Inc.
James R. O'Malley                    Canam Steel Corporation (Fl)          Intsel Steel Distributors
Michael Panacio                      Canam Steel Corporation (Az)          Intsel Steel West
Juliet Sarkessian                    Canam Steel Group                     Intsel Steel West LLC
Richard Schepacarter                 Capital Contractors Inc.              Jacklin Steel Supply Company
Edith A. Serrano                     Central Steel & Wire                  Jms Metal Services (AL)
Karen Starr                          Certified Steel                       Jms Metal Services (AR)
Ramona Vinson                        Chase Steel Company, LLC              Jms Metal Services (GA)
Jaclyn Weissgerber                   Cives Steel Company (Ms)              Jms Metal Services (KY)
Michael West                         Consolidated Steel Inc.               Jms Metal Services (TX)
Dion Wynn                            Contractors Steel Company             Jms Russel Metals Corp.
                                     Cooksey Steel                         Johannessen Trading
Miscellaneous parties                Crawford Metals - Burlington, ON      Joseph Fazzio Inc.
Wells Fargo Bank, N.A.               Crawford Metals - London, ON          Kentucky Machine & Engineering
                                     Cronimet Corporation                  Kgs Steel Inc.
Debtors’ Customers                   Cumberland Pipe and Steel             Kimco Steel Sales Ltd.
A. Stucki Company                    D. Wexler & Son Inc.                  Klein Steel Service
AAA Supply Corporation               Delta Steel Inc. - Houston, TX        Kothmann Enterprises Inc.
Acier Bouchard Inc.                  Delta Steel Inc.-San Antonio, TX      Kripke Enterprises, Inc
Acier CMC Inc.                       Desco Steel                           L. Kahn & Son
Acier Pacifique, Inc.                Diproinduca USA Limited               Lad Services Of Louisiana LLC
Afco Steel                           Dubose Steel Inc.                     Lafayette Steel & Aluminum Sales
Affordable Welding US, Inc.          Durrett-Sheppard Steel Company        Lapham-Hickey/Oshkosh
All Scrap Metals, LLC                East Tennessee Metals Company         Littell Steel Company
All Scrap Metals, LLC                Ecovery LLC                           Londerville Steel Ent.
Alliance Steel Distributors          Elderlee Inc.                         Louisiana Scrap Metal
Allied Crawford - Atlanta            ELG Metals Southern, Inc.             M. Glosser & Sons
Allied Crawford - Cincinnati         Endres Mfg. Company Inc.              Mc Neilus Steel Inc.
Allied Crawford - Petersburg         Equipco Manufacturing Inc.            Medley Steel & Supply Inc.
Allied Crawford (Attalla)            Erie Concrete & Steel Supply          Metal Partners Rebar, LLC
Allied Crawford (Charleston)         Everglades Steel Corporation          Metal Processors, Inc.
Allied Crawford (Greenville)         Express Supply & Steel LLC            Metal Trader Inc. (Triad Metal)
Allied Crawford (Jackson)            Fabricators Supply LLC                Metalico Pittsburgh, Inc
Allied Crawford (Lakeland)           Falcon Steel Co.                      Metalico Pittsburgh, Inc
Allied Crawford (Nashville)          Farwest Steel Corporation             Metals USA - Northeast
Allied Crawford (W Memphis)          Freight Crate, Inc.                   Metals USA - South Central
Allied Crawford Steel                Garelick Steel Co. Inc.               Metals USA - Southeast
Allied Crawford Steel - Harrisburg   Gautier Steel Ltd                     Mid City Steel
Alro Steel Corporation               Gem City Steel Supply Inc.            Mid States Steel Corporation
American Eagle Steel Corporation     General Steel Company                 Midwest Pipe & Steel Inc.
American Metal Supply Co             Globe Metallurgical Inc.              Minerd & Sons Inc.
American Steel & Aluminum LLC        Gooder-Henrichsen Company Inc.        Mont Levine Inc.
Amthor Steel Company                 Grant Steel Inc.                      Morgan Steel
Anco Steel Company                   Gregory Industries                    Morse Steel Company
Attala Steel Industries, LLC         Gulf Island Services Dba              MS Steel Products



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Napco Steel Inc.                    Strickland Trading, Inc.               Adam Arceneaux
New Millennium Building Systems     Strickland Trading, Inc.               Adam Chauvin
New Millennium Building Systems     Sugar Steel Corporation                Adam Dardar
New Millennium Building Systems     Superior Piling Inc.                   Adams Moncrief Transports Inc
Newell Ltd.                         Superior Supply & Steel                Adecco Employment Services
Nivert Metal Supply Inc.            T & W Steel Company Inc.               Admiral Merchant Motor Freight
Norfolk Iron & Metal Company        Tampa Bay Steel Corporation            Inc
North American Steel Alliance       Texas Iron & Metal Company             Admit Medical Testing
North Second Street Steel Supply    The A588 & A572 Steel Company          Adolph J Delatte
Northern Illinois Steel Supply      The Coeur D'alenes Company             Adp Screening And Selection
Northwest Steel & Pipe Inc.         The David J Joseph Company             Service
Norton Metals Inc.                  The David J Joseph Company             Adp, Llc
O'Brien Steel Service               The Everett Steel Companies            Adrain Warren
One Stop Steel Corporation          The Warren Company                     Adrian Julien
O'Neal Manufacturing Services       Tiger Trailers, Inc.                   Adrian Perrilloux
O'Neal Steel Ambridge               Trinity Industries Inc. - Rail Car.    Adrien Vicknair Jr
O'Neal Steel Inc.                   Trinity Marine                         Advanced Combustion Inc.
Ozark Mountain Steel Inc.           Triple-S Steel                         Advanced Marketing & Promotions
Pacific Steel & Recycling           Triple-S Steel (Knoxville)             Affordable Maintenance
PDM Steel Service Center - Sparks   Tube City Ims, LLC                     Afp Industries Inc
PDM Steel Service Center -          Universal Industrial Sales             Aggreko Inc
Stockton                            Utah Pacific Bridge & Steel            Agi Industries Inc
Price Steel Ltd                     Valbruna Slater Stainless, Inc.        Agm Container Controls Inc
PSC                                 Valk Manufacturing Company             Aimee H. Hingle
R G Steel                           Valley Iron Inc.                       Air & Hydraulic Equipment, Inc
Rack Builders Inc.                  Valley Joist Llc - NV                  Air & Hydraulic Equipment, Inc
RE Steel Supply Co.                 Valley Joist Llc East Div.             Air Liquide Large Ind Us Lp
Reliance Steel Group                Victory Steel Co.                      Air Products And Chemicals Inc
Re-Steel Distribution Ltd           W&W-Afco Steel LLC                     Air Tek Construction, Inc.
Roane Metals Group, LLC             W&W-Afco Steel LLC                     Airgas
Roane Metals Group, LLC             West Central Steel Inc.                Airgas Inc (La)
Russel Metals                       West Gulf Marine Inc.                  Airgas Mid America
Russel Metals Inc.                  Westfield Steel Inc.                   Airgas Midsouth
Ryerson - South Procurement         Willbanks Steel Corporation            Airgas Southwest, Inc.
S.I. Metals And Supply                                                     Airline Salvage Inc.
Sabel Steel Services Inc.           Debtors’ significant unsecured         Akiera M. Verret
Saginaw Pipe Company Inc.           creditors / vendors                    Alabama Carriers Inc
Salit Steel Niagara Ltd             A & E Engine & Compression Inc         Alan M Schroeder
Schenectady Steel Co Inc.           A J Labourdette Inc                    Alaoddin Ayyad
Schuff Steel Company                A One Auto Parts Of Lafayette          Albert Byes
Scion Inc.                          A To Z Salvage                         Albert Honore Jr
Seaport Steel, Inc.                 A&H Armature Works, Inc                Albert Joseph Smith Jr
Sedalia Steel Supply                A-1 Delivery Services, Inc.            Albert Peter Bourg Jr
Service Steel & Pipe                A1 Electrical Contractors              Albert Pitre
Service Steel Warehouse Company     A3m Vacuum Services, Llc               Albert R. Morris Jr.
LP                                  Aaa Cooper Transportation              Albert Robinson
Shepard Steel Co Inc.               Aaron C. Volion                        Albert Robinson Jr
Shugart Mfg. Inc.                   Aaron Frazier                          Albert Stamps
Sioux City Foundry                  Aaron J Chiasson                       Albert Tassin
Siskin Steel & Supply Company       Aaron J. Adams                         Albert Williams Jr
Sligo, Inc.                         Aaron J. Chaisson                      Alco Transportation Inc
Sol's Pipe Yard Inc.                Aaron Maurice Senette                  Aldiri Group
South Atlantic LLC                  Aaron Preston                          Aldon Company, Inc
South Atlantic LLC                  Aashto/Ntpep                           Alejandra Vernazza
Southern Steel & Pipe Inc.          Abdelhakim Khalek                      Alejandro Trejo-Fuentes
Sparta Steel & Equipment Corp.      Abel Carpio-Reyes                      Alere Toxicology
Steel & Pipe Supply                 Abs Americas                           Alere Toxocology Services, Inc.
Steel Fab Inc of Dublin Ga          Abs Quality Evaluations                Alex S. Walker
Steel of America                    Accurate Fire Equipment                Alex Johnson
Steel Service Company               Ace Doran Hauling Rigging              Alex Matthews
Steelfab Inc.                       Aci Holding Llc Dba                    Alexander D. Foret
Stone Steel Corporation             Action Heavy Haul, Llc                 Alexander P Farmer



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Alexander R. Milburn                 Amite Metal Recycling               Antonio Henry
Alexander Walker                     Ammar Diri                          Antonio Hernandez
Alexs D Borge                        Ammar Diri                          Anvil Attachments
Alfornce Veal                        Amoss Trading Services              Anvil Attachments Llc
Alfredo Reyes                        Amy M. Waguespack                   Apex Oil Company
Alimak Hek, Inc.                     Amy N. Camp                         Appalachia Business Comm
All Scrap Metals, Inc.               Anabelly Moncada-Padilla            Application Engineering
All Star Forest Products Inc         Andersen Tax Llc                    Applied Industrial
Allan Awe                            Anderson Lock Company, Ltd          Applied Industrial Tech
Allan Berger                         Andrea Obiol                        Applied Maintenance Spec., Inc
Allen J Coulon                       Andreas Scott                       Aquiana Springs Water
Allen P. White                       Andrew Dennis                       Aramark Uniform & Career
Allen Paul Bowers                    Andrew Desposito                    Archibald U. Alison Jr.
Allen Trafficano                     Andrew M. Mendoza                   Archie Coulon
Allenisha C Melancon                 Andrew M. Williams                  Archrock
Allfax Specialties Inc.              Andritz Asko Inc                    Aredean Graham Iii
Alliance Source Testing, Llc         Angela B. Jacob                     Ariel Cordero
Alliance Trucking Inc                Angela M Payne                      Arl Transport Llc / Dba Arl
Allied Universal Security Services   Angela M. Matherne                  Armando Alvarez
Allstate Benefits                    Angie Warren                        Armando Amaya Iii
Alphonse Nmi Carter Jr               Anh Thu T Tran                      Armond Lee
Alpine Metal Tech North America      Anh Vo                              Armstrong Transport Group
Inc                                  Anixter New Orleans                 Artemio Olguin-Gonzalez
Altaworx Llc                         Anna Salinas                        Artemus Rhodes
Alter Trading Corporation            Annette M. Bland                    Arthur Devore
Alter Trucking & Terminal Corp.      Anni Hahn                           Arthur Devore Jr
Alteron M. Diggs                     Annie K. Ross                       Arthur Gilbert
Alton Cotton                         Annya C Ortez Perez                 Arthur J. Gallagher Risk
Alton George                         Antares, Llc                        Arthur L Truitt
Alton Moulliet                       Anthony Abadie                      Arthur R. Lamonte Iii
Alvin Birdlow Jr                     Anthony Boudreaux Jr                Asc Industries, Ltd
Alvin Brown                          Anthony Brown                       Ashley A. Barbara
Alvin Cheatteam                      Anthony Buchholz                    Ashley N. Moton
Alvin Donte Smith                    Anthony C. Albert                   Ashley Sling, Inc
Alvin Edwards                        Anthony Carmadelle                  Ashley W. Gossett
Alvin Girod                          Anthony Dixon                       Ashton M Shepherd
Alvin Handley                        Anthony Durell Butler               Ashton Noel
Alvin Johnson                        Anthony Gautreau Jr                 Asset Employment Group
Alvin Kendall Couto                  Anthony J. Maddie                   Associated Terminals
Alvin Naquin                         Anthony Jackson                     AT&T
Alvin Richardson Jr.                 Anthony Joseph Jackson              AT&T Teleconference
Alvin Tyrone Couto                   Anthony Lamondo Jr                  Atlas Copco Compressors
Alvin Vicknair                       Anthony Legel                       Atlas Hose & Gasket Co, Llc
Alvin Williams                       Anthony M. Duhon                    Atlas Trucking And Logistics
Amaurys Santana-Baez                 Anthony Maddie                      Atmos Energy
Amber Lynn Cashio                    Anthony Ostrowski                   Ats Logistics / Dba Sureway
Ambrose Daisy                        Anthony P. Pertuit                  Transp.
Ameri 100 California, Inc/Formerly   Anthony Q Plummer                   Aubry Bonck
Ameri Rolls And Guides               Anthony Robinson Iii                Audiometrics Inc
American Bearing Supply Inc          Anthony Stevenson                   Augusta Malveaux
American Commercial Barge Line       Anthony T. Camp                     Austin Anthony Ancar
Llc                                  Anthony T. Cantillo                 Austin Fire Systems Llc
American Diesel                      Anthony W. Graziano                 Authur C. Guerra Jr.
American Industrial Motor Service    Anthony Walker                      Autobody Unlimited
American Metal Market                Anthony Young                       Avenger Logistics
American Roll Group Llc              Antoine Mcpherson                   Avis Williams
American State Equipment             Antoine Sterling                    Aynard Millet
American Waste Control, Inc          Antoinette M. Dickerson             Azz Galvanizing - New Orleans
Amerifab, Inc                        Antonio A. Chopin                   B W Sinclair Inv
Amerigas                             Antonio Deleon Jr                   B&T Express Inc
Ami Automation, Llc                  Antonio F Leyva Jr                  Ba Van Dang
Amino Transport Inc.                 Antonio G. Palmisano                Babcock & Wilcox Company



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Backgroundchecks.Com Llc         Bl Duke                              Brandon M. Malain
Bane Hauling & Rigging           Blaine Anthony Victoriano            Brandon Wallace
Bank Direct Capital Finance      Blair Logistics Llc                  Brandon Wallic Gilmore
Bank Of America                  Blair Services, Inc                  Brandon Watkins
Barbara Jackson                  Blake Babin                          Brandon Williams
Barbara L Phillips               Blake Georgel                        Brandy K. Wade
Barfield Enterprises, Inc        Blancher Brothers Ac & Heating       Brannon O. Cole
Barriere Construction            Llc                                  Braylon Shane Seltzer
Barry A Blanchard                Bloom Engineering Co, Inc.           Breaux Petroleum Products Inc
Barry Chopin                     Blue Cross Blue Shield Of            Brent Duplessis
Barry Joseph                     Louisiana                            Brent E. White
Barry L. Jones                   Blueline Rental Llc                  Brent Hahn
Barry Raziano                    Bnsf Logistics, Llc                  Brent Louque
Barry Raziano                    Bnsf Railway Company                 Brent Robert
Barry Young                      Bnsf Railway Company                 Brent Waguespack
Basil Crossdale                  Boasso America                       Brenton Coleman
Batiste J Giardina Iii           Bob Mckinney                         Brett Waguespack
Baton Rouge Radiology Group      Bobbie Jackson                       Brett Williams
Bayou Dragon Transport, Llc      Bobbie R. Milton                     Brian Bourque
Beacon Air Conditioning & Heat   Bobby Cantrell                       Brian C. Taylor
Bear Communicatons Inc           Bobby D. Boudreaux                   Brian Chappell
Bear Communicatons Inc           Bobby Isaac                          Brian Chappell Jr
Becker Iron & Metal              Bobby Jerome Barnett                 Brian Cook
Beck's Auto Service              Bobby Lashley Corp                   Brian Cothern
Beck's Automotive                Bobby Lindsey                        Brian E. Cothern
Beemac Trucking Llc              Bobby Miller                         Brian K. Jenkins
Belco Industrial Services, Llc   Bobby Wilson                         Brian Lee Mosch
Bemco Machine Works, Ltd         Boh Bros Construction                Brian P. Louque
Bengiman Odom                    Boland Marine & Industrial Llc       Brian's Towing Service
Benito Martinez Vigil            Bomac Contractors Ltd                Brice Llewellyn
Benjamin Carter                  Bonnard Mondesir                     Bridge City Power Equipment
Benjamin Duecaster               Bonnel Frazier                       Bridget Marie Patton
Bennett J. Triche                Boomerang Transportation, Llc        Brigette Giepert
Bennie Davis                     Boomtown Casino Harvey               Briggs Equipment
Bennie Joseph Jr                 Bosco Bros Llc                       Britt Bullins
Benny Ferrell                    Bowen, Miclette & Britt Of La        Brock A. Beck
Benny Riley                      Boy Scouts Of America                Brockton Tross
Berendsen Fluid Power            Boyd Bros Transportation Inc         Broderick K Heims
Berkman Anderson                 Brad Dubreuil                        Brooke M. Lopez
Bernard Bradley                  Brad Gambino                         Brother Fluence
Bernard Reynaud                  Brad Schouest                        Bruce Michael Mcginnis
Bernard Reynaud Jr.              Brad Untereiner                      Bruce Mitchell
Bernard Smith                    Brad Verdin                          Bruce Smith
Bernard W Coleman Jr             Brad Wilson                          Bruce Wilson
Bertrand Sparks                  Bradford Smith                       Bryan A Davis
Best Used Tires And Auto Care    Bradford Smith                       Bryan Bazile
Beth Spiess                      Bradley E. Hewett                    Bryan Diaz - Contreras
Bethel Trans, Llc                Bradley Lepine                       Bryan Ernst
Beton, Llc                       Bradly Vincent Chapron               Bryan Lee Dirteater
Betty Bossier                    Branches Brown                       Bryan Matthews
Beverly A Eckel                  Brand Safway                         Bryant K. Walter
Beverly Snow And Ice, Inc        Branden R. August                    Bryon Black
Bianca Knight                    Branden Rodi                         Bse-Badische Stahl Engineering
Bill K Provence                  Brandon Anthony Harold Love          Gmbh
Billy Jo Porche Jr               Brandon D Williams                   Buchanan Hauling & Rigging Inc
Billy Joe Rodrigue               Brandon D. Bush                      Buck Kreihs
Binatek                          Brandon Ellitt                       Buckley Transport Inc
Binh Viet Le                     Brandon Habis                        Buddy Moore Trucking Inc
Birmingham International         Brandon Hall                         Budget Auto Parts U Pull It, Inc
Birmingham Rail & Locomotive     Brandon J Wyche                      Builders Transportation Co Llc
Bj's Furniture & Appliance       Brandon Leger                        Bulk Systems & Services, Inc
Warehous                         Brandon Louque                       Burnell Bell Jr



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Burney Blanch                     Carroll Wilson                        Charymar Montero
Bw Terminal                       Carter Machine Works                  Chase Environmental Group
Byron Blackwell                   Cartwright Communication              Chauvin Bros Tractor Inc
C & C Marine                      Casey Lynne Strauss                   Chaz Joseph Barthelemy
C&W Trucking & Sons Inc           Cashanna Moses                        Chaz Michael Ford
C.M.C. Recycling National         Cast Burl                             Chem Treat Inc
Accounts                          Caze Butler                           Cherokee Millwright Inc
Cabay Route Jr                    Ccpi Inc.                             Cheryl Cabus
Cahaba Materials & Paving, Llc    Cdw Computer                          Cheryl G Vicknair
Cairo Marine Service              Cecil S. Anglin Iii                   Cheryl G. Jackson
Cajun Air Llc                     Cecil Terrice Hyatt                   Chester Boudoin 111
Caleb Joshua Eymard               Cecilio Cruz                          Chet Morrison
Calmar Corporation                Ceco                                  Chevis D. Akers
Calvin Forbes                     Cedric Ragas                          Chicago, Fort Wayne
Calvin Gagneaux Jr                Cedrica L Brown                       Childhood Leukemia Warriors
Cam Tran                          Centerpoint Energy Services Inc       Chris Bickham
Cameo Solutions Inc               Central Oregon Truck Company          Chris Davis
Cameron M. Singleton              Certex Usa, Inc                       Chris H Doyle
Camille Roussell Jr               Certified Laboratories                Chris Lafrance
Canadian National Railway         Cesar Olguin                          Chrissean Charles
Canera Miles                      Cess Matthews                         Christian A. Cowans
Capgemini America, Inc.           Cgb Marine At Laplace                 Christian Witte
Capital Coatings Llc              Chad R. Bazette                       Christina Lee
Capital Valve & Fitting Co Llc    Chance Cheramie                       Christina M. Studer
Carbide Industries Llc            Chandler Williamson                   Christina M. Walker
Cargill Inc.                      Chanell Richardson                    Christopher A. Johnson
Carl A, Thomas                    Charles Braud Jr                      Christopher Billiot
Carl A. Dennis                    Charles D Kegley                      Christopher Brady
Carl Every                        Charles D Neuser                      Christopher Frye
Carl Hilaire                      Charles Darr                          Christopher J Taulli
Carl Savoie                       Charles Davis Iii                     Christopher Jouty
Carl Schubert Jr.                 Charles Domingue                      Christopher K. Nelson
Carl Sordelet                     Charles Douglas                       Christopher Maurice Parodi
Carl Wilson                       Charles E Holmes                      Christopher Murr
Carlin Loupe                      Charles E. Matthews                   Christopher Nicholas
Carline Mgmt Co. Inc.             Charles E. Watkins                    Christopher Phillip Terrell
Carlo Cross                       Charles Gerding Iii                   Christopher Stoltz
Carlos Alberto Ramirez Molina     Charles Green Jr                      Christopher Taulli
Carlos Cazanas                    Charles J Lacour Jr                   Christopher Vinet
Carlos Chilla                     Charles J. Chopin                     Christopher Warner Williams
Carlos Cortez                     Charles J. Williams Jr.               Christopher Warner Williams
Carlos D Portillo-Lanza           Charles Kraemer-Byrom                 Christopher Wertz
Carlos Desalvo                    Charles London                        Christopher Young
Carlos Enrique                    Charles Marino Jr                     Christy A. Rodrigue
Carlos Hornbrook                  Charles Martin                        Chucky Felder
Carlos P. Lanza                   Charles Maxwell Hudson                Cierra K. Harvey
Carlos Sabonge                    Charles Mcgehee                       Cindex Industries
Carlos Vides                      Charles Mcgowan                       Cintas Corporation 544
Carlos Williams                   Charles Orr                           Circle Llc
Carlton Grimes                    Charles P. Lewis                      Circle, Llc
Carlton Ray Coleman Jr            Charles P. Wilson Jr.                 City Of Chicago
Carlton Scale                     Charles Pagart                        City Of Chicago (84lb)
Carnell Clofer                    Charles R Kerley                      City Of Gretna
Carol Ann Darr                    Charles Steadman                      City Of Gretna Water & Sewage
Carol E. Garrity                  Charles W Mcgehee                     Dept
Carol M Duke                      Charles W. Gove Iii                   City Of Rockwood
Carol Oramous                     Charles W/ Maxwell Jr.                City Of Tulsa Utilities
Carol Ripp                        Charlie Benn Jr                       Civeo Offshore Llc
Carolina Steel Logistics          Charlie Carter                        Clarance Armont Jr.
Carrie A. Ramsey                  Charlie Nguyen                        Clarence Anderson Jr
Carroll Lerille                   Charlie White                         Clarence Bovie
Carroll Simoneaux                 Charlotte Denise Bowers               Clarence Duhe Jr



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Clarence Duhe Jr.                 Continental Construction              Cw Mobile Service, Llc
Clarence Gabriel Jr               Contract Leasing Corporation          Cycle Construction
Clarence Jackson                  Contractor And Industrial Supply      Cyclonaire Corporation
Clarence Johnson                  Contractors Supply Company            Cynthia Rogers Ellermann
Clarence Lambert                  Control Chief Corp                    Cynthia Terrebonne
Clarence Lee                      Cook County Treasurer                 Cynthia W. Bowie
Clarence Noble                    Cooper Consolidated On Behalf         Cyril E Gonzales Iii
Clarence Robertson                Cooper Consolidated, Llc.             D & B Metals, Inc
Clarence Robinson                 Cooper/T. Smith Stevedoring           D & D Construction
Clarence Sarah                    Cora Witte                            D&S Industrial Contracting
Clarence Walker Jr                Cordan M. Coleman                     Da & Associates
Clarence Walter Jr                Cordaz V. Coutee                      Dakota Poche
Claude Andrew Isidore             Core Llc                              Dale Cowans
Claude Lewis                      Corey J. Manson                       Dale Robertson
Clayton Creekmore                 Corey Jackson                         Dale Young
Clement Gray Iii                  Corey Ladner                          Dale's Towing
Clement Service Station Inc       Corey Leon Allen                      Dallas Lacombe
Cleveland Johnson                 Corey Stevens                         Dalton Reed
Clifford Faggard, Iii             Corey Stevens                         Damian Mule
Clifford J. Troxler Iii           Corey Victor                          Damian Truxillo
Clifford Mcquillion               Corey Vinnett                         Damien Leonard
Cliffton White                    Coreyelle D. Stevens                  Damion Dennis
Clifton Dixon                     Corky F. Henderson                    Damon M. Duhe
Clifton Steel Co.                 Cornelious Gilmore                    Damon Ridgley
Cline Acquisition Corp            Cornelius A. Cummings                 Damon Zeno
Clinton Jerrod Anderson           Cornelius Baldwin                     Dana Muscarello
Clyde Madere Jr                   Cornelius J Modica Jr                 Dane B Mccahill
Clyde Mitchell                    Cortez Hunter                         Dane Smallwood
Cmc Recycling National Accounts   Cory Cobena                           Daniel Carroll
Cn Illinois Central Railroad      Cory Scott Meaux                      Daniel Castrillo
Coalmont Electrical               Cr3 Partners, Llc                     Daniel Chanel Sullivan
Coast Electric Inc                Craig A Core Jr                       Daniel D Chatelain Ii
Coastal Crane Services, Llc       Craig A. Fairleigh                    Daniel Douglas Iii
Coastal Fire                      Craig D Hebert                        Daniel Furman
Coastal Pipe Of La Inc            Craig Edwards                         Daniel Guillot
Cody J. Rome                      Craig Manuel                          Daniel J. Jones
Cody Michael Metrejean            Craig Toney                           Daniel Lachney
Cody Miles                        Craigory D. Devare                    Daniel Meeks
Cody Schmidt                      Crecencio Jimenez                     Daniel Nora
Cole Parmer Instrument Company    Crescent Energy Services              Daniel P Naquin
Colette Forbes                    Crescent Transport, Inc               Daniel Paul Camardelle
Colin C. Duhe                     Croix Entergy Technologies            Daniel Paul Dubroc Ii
Columbia Gas Of Pennsylvania      Cross Sales & Engineering             Daniel Pellegrin
Combined Transport Systems Llc    Crossdale A. Basil                    Daniel Potter
Comcast                           Crst Malone Inc                       Daniel Stewart
Comcast Cable                     Crystal Braxton                       Daniel Weber
Comed                             Csx Transportation                    Daniel Weber
Commercial Metals Company         Ct Corporation                        Daniele V. Grisoli
Commercial Metals Corporation     Ctlc                                  Danieli Corporation
Commercial Transportation         Culligan Water Condition              Danielle M. Bergeron
Commodity Management Services     Curt Brignac                          Danielle M. Gales
Ltd                               Curt Joseph Bourg                     Danielle Shields
Compressed Air Systems, Llc       Curtis Green                          Danijel Dekovic
Concrete Busters                  Curtis Joseph                         Danny Champagne
Conductix Inc.                    Curtis Keating                        Danny Dupont
Cone Drive Operations Inc.        Curtis Love                           Danny M Poirrier
Conley Marine Services            Curtis Pye                            Danny Talamo
Connector Specialist Inc          Curtis S Davis                        Danny Wilbanks
Conner Industries, Inc.           Curtis Taylor                         Dannye Jones
Connor A. Ricks                   Curtis W. Manning                     Danteria C. Chopin
Connor R. Keyser                  Curtis Weber                          Dara Poche
Construction Unlimited            Curtis Wheeler                        Dariel Hernandez Garcia



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Darin Brown                         David N. Mcmorris                     Derichebourg Recycling Usa, Inc
Darius Alexander                    David N. Palmisano                    Deron Smith
Dark Horse Rail Service             David P. Crews                        Derreck Perrin
Darnel G Sabio                      David Patrick Spahr                   Derrick Holmes
Darnell J. Devare                   David Paz                             Derrick L Carter
Daron Henry                         David Robertson Jr                    Derrick R Bryant
Darrel Clarks                       David Romano                          Derrin Turner
Darrel J. Overland                  David Ruiz                            Derry Mckee
Darrell Beard                       David Sutton                          Deshazo Crane
Darrell Dennis                      David W Legendre                      Devanta Kennard
Darrell Flowers                     David W Washington Jr                 Devin Kyle Miller
Darrell Kelly                       David Whitehead                       Devin Sanders
Darrell Kimble                      David Williams                        Devin Tyler
Darrell Morgan                      David Wintz                           Devin Wells
Darrell. Chopin                     Davin Gabriel                         Dezurik Inc
Darren Breaux                       Davin Ortego                          Df Rail Group
Darren Hughes                       Davis Duong                           Di Central Corporation
Darren J Plaisance                  Davis Hose Supply                     Diamond E Trucking
Darren J. Gautier                   Davis Robinson                        Diane Innerarity
Darren J. Washington                Davonte T. Johnson                    Dickens Lagos
Darrick Mcccray                     Dealers Electrical Supply             Dickinson & Associates, Inc.
Darriell Washington                 Dean Bourgeois                        Diego Orozco
Darrius T. Davis                    Dean Hill Jr                          Dion Gales
Darron Orgeron                      Deandre D. Scott                      Direct Connect Transports, Inc
Darryl Augillard                    Deanna B. Butler                      Direct Energy
Darryl Davis                        Deanna Gainey                         Distribution Now
Darryl Davis                        Deanthon E Alexis                     Diversified Nonferrous
Darryl Everson                      Deavin Britton                        Dobby Lachney
Darryl G. Hoormann                  Debbie Ann Charles                    Docar Truck Parts & Equipment
Darryl Guillot                      Deborah Coston                        Dolia Middleton
Darryl M. Senia Ii                  Deborah Hardy                         Dominick J. Villafranco
Darryl Patterson                    Deborah Obrien                        Don A Darce
Darryl Simoneaux                    Debra Bergeron                        Don Bohn Collision
Darryn Clouatre                     Debra Pate                            Don Bohn Service Department
Daryl P. Ordoyne                    Dedicated Carriers Inc.               Don Holmes
Dashawn T. Preston                  Deep South Communication              Don Paul Landry Jr
Data Connect Enterprise Inc         Deep South Oilfield Construction Ll   Donald Braud
Davaughn Dunlap                     Deirdre Toney                         Donald Breaud
Davco Mechanical Contractors, Inc   Dejuane Johnson                       Donald Coco
David A. Ford                       Delaney Thomas Weaver                 Donald Colton
David A. Reyes-Manzur               Delaware Secretary Of State           Donald Dwayne Mason
David A. Scheidel                   Delbert A. Hyland                     Donald Eugene
David Bailey                        Delma Gaudet                          Donald G. King
David Blount, Jr                    Delta Fabrication & Machine Inc.      Donald J Meyer Jr
David Borges                        Delta Process Equipment -             Donald J. St. Martin Jr.
David Durden                        Delta Rigging & Tools, Inc.           Donald J. Trissel
David E. Vallery                    Delta Usa Inc                         Donald Jackson
David Eames                         Demag Cranes & Components             Donald Jumpiere
David Gauthe Jr                     Demetri L. Lewis                      Donald L. Nickleson
David H Dowdy                       Demo Diva                             Donald Lee Moore Jr
David Hernandez                     Demond L. Crosby                      Donald M Jethro
David Holmes                        Demond Mccormick                      Donald Marks
David J Gros                        Dennis Butler                         Donald R Clark
David J Nelson                      Dennis Orosco                         Donald R Luminais
David J Richard                     Dennis W. Hetler & Associates Pc      Donald R Poche
David K. Knight                     Dennis Wilson                         Donald Rose Jr
David L Shaw                        Denyan L. Gaines                      Donald Willman
David M Shumaker                    Denzal Houston                        Donald Wilson
David M. Waguespack Jr.             Deollie Keys                          Donald Wilson
David Mandina                       Derek Devooght                        Donald Yesso
David Mayeaux                       Derek Edwin Thornton                  Doniven Manchester
David Mendez Hernandez              Deric Cummings                        Donna Davis



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Donna R. Poche                       Edward Joseph                        Eric Trent
Donnelle Humphries                   Edward L Collins Jr                  Erichson Company Inc
Donovan Sanders                      Edward Robert                        Erin D. Carter
Donvaon L Webre                      Edward Saul Jr                       Erm
Dora Zuniga                          Edward Tapley, Jr.                   Erm Southeast
Doris Melancon                       Edward Watson Iii                    Ernest Anderson
Dorothy A. Smith                     Edwin Joseph                         Ernest Dubose Jr.
Dorothy Price                        Edwin Ray Mixon Iii                  Ernest Edwards
Douglas Ascencio                     Edwin Watson                         Ernest Fisher Jr
Douglas E. Moreno                    Edwin Williams                       Ernest Gilmore
Douglas L Mayeux                     Eiu, Inc                             Ernest Holland
Douglas Lee Walker Jr                Ekhosoft / Inexcon Technologies      Ernest Mitchell
Douglas Moody                        Electric Machine Controls            Ernest Mitchell
Douglas Triche                       Elery Edgardo Ortega Quiroz          Ernest R Elliott
Doyle A. Waguespack                  Elias Nunez                          Ernest Ratliff
Drago Supply Co Inc                  Elight Charles                       Ernest Wells Jr
Draper Bourgeois                     Elizabeth C. Gennaro                 Ernestine R. Mitchell
Dredging Supply                      Elizabeth Gaytan                     Erron P. Chaisson
Drew Robichaux                       Elizabeth Trahan                     Ervin Reynaud
Drive Systems Inc                    Elliot Clark                         Erwin Cook
Dropsa Usa Inc.                      Elliott's Boots                      Eslam Odeh
Dsv Road, Inc                        Ellipse Llc                          Esteban Cardenas-Reyna
Duane Edwards                        Ellis E Trahan Jr                    Etienne Pellegal Jr
Duane Troxler                        Ellis James Bryant                   Ets Schaefer Llc
Duck's Ice, Inc                      Ellis Nicholson                      Eugene Allen
Duhon Machinery Co, Inc              Ellis Sevin Ii                       Eugene Banks
Durel Alexander                      Ellis Thierry                        Eugene Davies
Dwane Solar                          Elmer Anweiler                       Eugene Davis
Dwayne D. Dufrechou                  Elroy James                          Eugene Dinino
Dwayne Gibson Jr                     Els, Llc                             Eugene Domingue
Dwayne Pugh                          Elton Anthony Boudoin Iii            Eugene Marcel
Dwight Louis Degree                  Elton Glenn Jefferson Jr             Eugene Pierce Jr
Dwight P. Perrilloux                 Elton Johnson                        Evan August Lutz
Dwight Perrilloux                    Elvin Ramos                          Evan Whipple
Dylan Camus                          Elvis P Holder                       Evans Dennis
Dylan J. Johnson                     Elwood Lecompte                      Everett Benn
Dylan Parun                          Emanuel Armand                       Evergreen Industries Inc
Dynametrics                          Emanuel Guerra                       Evodio Almazan
Dynamic Security Services            Emedco Inc                           Evonik Materials
Dyrelle T. Washington                Emily C. Watkins Elementary          Expedited Transport Llc
Dystany A. Mitchell                  Emmett Robinson                      Express Employment Professionals
E. J. Guidry                         Empco (Canada) Ltd                   Fabachers
Earl Everson                         Engels Lenin Orellana                Fabricari, Llc
Earl Jethro                          Enisha K. Martin                     Faron Duhe
Earnest Wilkerson Jr                 Ennis Houston                        Fedex
Earrick Wallace                      Enrique Madrid                       Fedex Freight
Easi, Llc                            Entergy                              Felipe Diaz
Eastern Express Inc                  Envent Corporation                   Felipe O. Lopez
Easton Gray                          Environmental Operators              Felipe Pineda
Economical Janitorial Supplies Inc   Epic Alabama Shipyard, Llc           Felix Miller
Ecs Smoke School                     Eric Adams                           Felix Miller Jr
Ed Hall                              Eric Brown                           Felton Green Jr
Eddie Coston                         Eric Florian                         Feltons Clutch Service
Eddie Harris                         Eric G. Gordon                       Feltus Peck Jr.
Eddie White                          Eric Gregoire                        Feras Ayyad
Eddie Williams                       Eric J Bourgeois Jr                  Ferdinand Washington
Eddrain Williams                     Eric Joseph Davis                    Fernada M. Tyler
Edgeworth Municipal Authority        Eric Keating                         Fernando J. Flores
Edison Energy, Llc                   Eric L. Laborde                      Finnegan Reztek
Edmond J Champagne Jr                Eric Paul Guccione                   First River Consulting
Edward Dabney                        Eric S Harris                        Fischer Intl Forwarders, Inc
Edward J, Mcdowell Jr.               Eric S. Mire                         Flavision Piris



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Fleetwood Signode                  Gary Murray                           Glennis R Sparks
Florence Hindes                    Gary P. Vicknair Jr.                  Goldin Metals
Florida Department Of Revenue      Gary Perret                           Gong Chang %Mpsi
Florida Parish Scrap               Gary Robert                           Good Year Auto Service
Florida U.C. Fund                  Gatx Rail Locomotive Group Llc        Gootee Construction
Floyd Cadres                       Gaubert Oil Company Inc               Gordon Arata
Floyd Davis                        Gavilon Fertilizer, Llc               Gordon Sanders Jr
Floyd Eugene                       Gavilon Grain, Llc                    Gordon W Disotell
Floyd Manning                      Gaylon Fobb                           Gpm Hydraulic Consulting, Inc
Floyd Navero                       Ge0rge L Martin Jr                    Grady L. Lee
Floyd Sharp                        Gene Matthews                         Grainger Industrial Equipment
Fmt Shipyard & Repair              General Information Solutions Llc     Grand Point Salvage & Repair
Fournie Llc                        George Cooper                         Granite Telecommunications Lcc
Fraley And Schilling Inc           George D. Labourgeois Iii             Grant Williams
Francis Comeaux                    George Emile Exnicious                Graphiti Associates Inc
Francis F. Benn                    George Eskine                         Graybar Electric Company, Inc
Francis Oubre                      George Jacobsen                       Graylin Robinson
Frank A Lesto                      George Miller, Iii                    Greatwide Cheetah Transportation
Frank A Macera Iii                 George Mullins                        Ll
Frank Boe                          George West                           Greenleaf Corporation
Frank Gardner                      Georgette Deruyck                     Greentree Transportation Co
Frank Goloforo                     Gerald Bourgeois                      Greg Champagne Tax Collector
Frank Green Jr                     Gerald Ellis                          Gregory Euell
Frank Harvey                       Gerald Ford                           Gregory Hunter
Frank Hebert                       Gerald J Poche                        Gregory J. Brown Jr.
Frank Musacchia                    Gerald J. Jones                       Gregory L. Lewis
Frankie A Credidio                 Gerald L. Russ                        Gregory Maclean
Frankie Francois                   Gerald Robert Cannon                  Gregory Melancon
Franklin Swanson                   Gerald V Ellis                        Gregory Okeith Hooper
Fred Allen Jr                      Gerald Young Sr                       Gregory P Oliney
Fred Forrest                       Gerard Gray                           Gregory P. Oliney
Fred Keith                         Gerard Milton                         Gregory Thomas Alario Bergeron
Freddy A Blanco - Silva            Gerardo Caceras                       Greson Technical Sales And
Frederick Bailey                   Gerardo Martinez                      Grid Line Transportation Inc
Frederick M Turner Jr              Germaine Bruer                        Gts Inc.
Frederick M. Turner Sr.            Germond J. Williams                   Guico Farms
Fredrick's Janitorial Service      Gerrard Gray                          Guidry's Industrial
Freight King Llc                   Gertrude Ross                         Gulf Coast Dismantling
Freudenberg Oil & Gas, Llc         Gervin R Mitchell                     Gulf Coast Responders, Llc
G T Michelli Co, Inc.              Gexpro (La)                           Gulf Engine
G&A Environmental Contractors      Gexpro (Tn)                           Gulf States Optical Labs, Inc
Inc                                Gilbert Ackerson                      Gus O Neil Young
G. Kendrick                        Gilbert Damis                         Guy Hayes Iii
Gage M. Gill                       Gilbert Edwards                       Guy Holmes
Gallagher Benefit Services, Inc.   Gilbert Rubin Jr                      Guy Lamothe
Gallano Trucking                   Gilda Williams                        Guzman's Machine
Garnet Crump                       Girven Mullen                         Gwendolyn Henderson
Garrett Fowler                     Glen Vicknair                         H & E Equiptment
Garrett Herberg                    Glenda Coats                          H R Curry Company Inc
Garrett Lirette                    Glenn Bourgeois                       H&E Equipment Services Inc
Garrison L. Johnson                Glenn Brumfield                       H.J.M. Machine
Gary A Ostrowski                   Glenn Contreras                       Hamilton Martin
Gary Barrios Jr                    Glenn Harrilal                        Hamp Williams Jr
Gary Boulet                        Glenn J Creppel                       Hampton Williams Jr
Gary Charles Robertson             Glenn J Morrill                       Harbisonwalker International Inc
Gary Daniel Gros Jr                Glenn L Munkres                       Hardage Group Inc.
Gary Davis                         Glenn Mire                            Harley D. Atkinson
Gary Eugene                        Glenn P. Onebene                      Harman Ice
Gary Johnson                       Glenn Potter                          Harold Bailey
Gary L. Allen                      Glenn Scott                           Harold Lacour
Gary M. Perret                     Glenn Willis                          Harold Taylor
Gary Mccray                        Glennis Brooks                        Harriman Utility Board



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Harris J Wilson                    Honeywell Inc                         Isaac Williams
Harrison C. Mcdaniel               Hoosier Crane Service Company         Isabella Carr
Harry Dixon Jr.                    Hornady Transportation Llc            Isaiah Byrd
Harry Holmes                       Hotwork-Usa, Llc                      Isiah Johnson
Harry Jessie                       Houghton Co                           Isidro M. Argueta-Reyes
Harry Jones                        Howard G Coe Jr                       Israel Davis
Harry Smith                        Howard Hampton                        Israel Gautreaux
Harry Trahan                       Howard Johnson                        Israel Magee
Harvey Perry                       Howard T. Holifield                   Isri
Harvin Guitierrez                  Hubert J. Remondet Jr                 Issac Williams
Haston Lewis                       Hubert Thorne Conis Iii               Itw Fleetwood Signode
Hayward Cloffer Jr                 Hubert Thorne Conis Jr                Ivan B. Ledesma
Hayward Wilson Iii                 Hudson Services                       Ivan Lagos
Hazel Jesus Munoz                  Hughes Machine Shop Inc               Ives Business Forms
Hcs Trading, Llc                   Humana Dental Ins Co                  Ivory Williams Jr
Hd Recycling                       Hunter T. Harmon                      Izal Williams Jr
Hector Carnero                     Hussain Nazir Ally                    J & J Machine & Tool, Inc
Heidi Frederick                    Hwy 51 Scrap Metal Llc                J Cruz Robinson
Heidi Sutton                       Hydradyne Hydraulics                  J. P. & Sons Dredging, Llc
Helix Logistics, Llc               Hydradyne Hydraulics Llc              J. P. & Sons Dredging L.L.C.
Hem Inc                            Hydranamics Inc                       J3 Transportation
Henderson Williams                 Hydrochem Psc                         Jace Michael Gros Jr
Henry Baker                        Hymels Auto Parts Servi               Jack Braud
Henry Champagne Jr                 Hymel's Florist                       Jack Braud Jr
Henry Cheramie                     I C E Sales & Service Llc             Jack L. Keen
Henry Fourmaux Iii                 I. Berman Company                     Jack M. Cali
Henry G Bourgeois                  Ian Belverstone                       Jack Willie Roberts Jr.
Henry Gloston Jr                   Ibi Brake Products Inc                Jackie John Marks
Henry Joseph Parnell               Imad Abdelrahim Isa                   Jackson Industries Inc
Henry L. Green                     Imon Byrd                             Jackyle Lee
Henry Malancon                     Indeed,Inc.                           Jacob M. Duhe
Henry Malancon Jr                  Industrial & Marine Equip. Co, Inc    Jacob T. Cross
Henry Melton Jr                    Industrial Electronic Supply          Jacob Trevino
Henry Scott                        Industrial Employees                  Jacobe Cavalier
Heraeus Electro Nite Co, Llc       Industrial Fabrication                Jacobsen's Automotive
Herbert F Moore                    Industrial Hearing Conservation Ser   Jacque A. Gurley
Herbert Grant                      Industrial Id Solutions               Jaime Flores
Herbert Jenefer                    Industrial Pump Sales                 Jake Blanchard
Herbert S. Hiller                  Industrial Scrap Metals Llc           Jake M. Heckathorn
Herbert Williams                   Industrial Valuation Services (Ivs)   Jake's Auto Parts
Heriberto Howell                   Ingram Barge Company                  Jamaar C Jones
Heritage Crystal Clean, Llc (La)   Ingram Barge Company                  Jamal J. Gomez
Heritage Crystal Clean, Llc (Tn)   Ingrid P. Duplessis                   Jamal Williams
Heritage Interactive Services      Insight Direct Inc.                   Jamar Beauford
Heritage Logistics Llc             Institute For Career Development      James A Baer Jr
Herman Triggs                      Instron Corporation                   James Anderson
Herman Triggs Jr                   Insulation Technologies               James Anderson Jr
Herman Walter                      Insulations Incorporated              James Andrew Hamilton
Hero Lands Company                 Integrity Express Logistics           James B. Wilson
Hever S. Espana                    Interstate Mechanical Service, Llc    James Brock Ii
Hhe Services Inc. Dba Huber        Ipo Sales Llc                         James Brown Jr
Hickman's Metal Recycling          Ira Bordere, Jr.                      James Brumfield
Hidalgo Health Associates          Ira Catlin                            James Brunette
Highway 16 Scrapyard               Iron City Industrial Cleaning Corp    James Bumgarner
Hillary Nguyen                     Iron Mountain Information Mgmt,       James C. Haley Iii
Hilton Frank                       Inc                                   James Carlos Perez Jr
Hisar Celik C O Mpsi Rolls         Irvin Atkins                          James Chancey
Hm Insurance Group, Inc            Irvin Scioneaux, Jr                   James Cowans
Hoist & Crane Service Group        Irvin Scott                           James D Lightell
Holly Wilson                       Irvin Seltzer Jr                      James Davis
Holston Gases Inc                  Isaac Doyle Iii                       James E Glass
Homer Figueroa                     Isaac Sparks Jr



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James Elmwood Repair &             Jason Mialjevich                        Jerry Short Jr
Maintenance                        Jason Nieves                            Jerry T Galliano Jr
James Foy                          Jason P. Jackson                        Jerry W Short
James Gill                         Jason Rogers                            Jesse Brue
James Haley                        Jason Thomas                            Jesse Mosbey
James Houston                      Jason Toombs                            Jesse Peranio
James Hoyt                         Jason Treme                             Jesse Silas Jr
James Jackson                      Jason Wakefield                         Jessica Margiotta
James Johnson                      Jasper Cook                             Jessica R. Rowland
James Jouty                        Javier Jordan                           Jessie Scioneaux
James L Walker                     Jay Landry                              Jesus Manuel Torres
James M. Ward                      Jay Lauve                               Jesus R. Alfaro
James Marine Hahnville, Llc        Jay M Blanchard                         Jet Concrete Services
James Meyers                       Jay Pilipovich                          Jhop Truck Lines Llc
James Michael Juneau               Jazmine E. Wells                        Jill Hill
James Michaud                      Jd Fields Co., Inc.                     Jill M. Montz
James Moten                        Jeff Asbell Excavating &                Jim B Beardsley
James Oubre                        Jeff Huck                               Jim Hebert
James R. Coleman                   Jefferson Iron & Metal                  Jimmie Madison Jr
James R. Hays Jr                   Jefferson Parish Fire Dept              Jimmie Robertson
James Ramagos                      Jefferson Parish Sewage                 Jimmie Tucker Trucking
James Ray Billings                 Department                              Jimmy C. Waller
James Robinson                     Jefferson Parish Sheriff's Office       Jimmy Cannino
James Smith Jr.                    Jefferson Parish Water Dept             Jimmy Knight
James Sparacello                   Jeffery Anderson                        Jimmy Le
James Stewart                      Jeffery J. Champagne Jr.                Jimmy Terrebonne
James Stewart Jr                   Jeffery Jackson                         Jimmy Vegas
James Washington Jr                Jeffery Lee Cunningham                  Jimmy Wayne Franklin
James Wilson                       Jeffrey Cote                            Jireh S. Thompson
James Wilson Jr                    Jeffrey Goodman                         Jle Industries, Llc
Jamie Ostrowski                    Jeffrey P. Williams                     Jmn Specialties Inc
Jamie R Scurlock                   Jennifer Carey                          Jody P Audifred
Janell King                        Jerald Bowman Jr                        Joe Leasure & Sons, Inc
Jani King Of Knoxville             Jerald J. Paige                         Joe Welch
Jani King Of New Orleans D/B/A -   Jeramy S Henry                          Joey Anderson, Jr
Janice Dwyer                       Jered Sweeney                           John J. Pempek
Janice Henry                       Jerel Jones                             John A Morici
Janssen Casey                      Jeremiah Satoute                        John D. Picou
Jarad Green                        Jeremy Daniel Morris                    John Early
Jared Becnel                       Jeremy Geason                           John Gautreaux
Jared D. Matherne                  Jeremy Goudeau                          John Goodwin
Jared Hotard                       Jeremy Pugh                             John Goudeau
Jarren Jackson                     Jerimie Rose                            John Growe, Iii
Jarret Cantrelle                   Jermaine Lee Dunmore                    John H Carter Co
Jarrod Fremin                      Jernone Johnson                         John Hampton Jr
Jarrod Harris                      Jernone Mcclure                         John Janeth
Jarrod Mule                        Jerome A. Justin                        John Kendrick
Jarrod Paul Fremin                 Jerome Anthony Frisella Iii             John L. Hampton
Jashua Tassin                      Jerome Craft                            John Lafont
Jason Arthur Obrien                Jerome Granger                          John Lawson
Jason Carl Sherrod                 Jerome Green                            John Leo
Jason D. Kinley                    Jerome Harris                           John M Champagne Jr
Jason Edward Deal                  Jerome Hunt                             John Mcallister
Jason Gauthe                       Jerome Isom                             John Moheng
Jason J. Berthelot                 Jerome Mcclure                          John Moore
Jason J. Roussel                   Jerry Arp Trucking                      John P. Volpe
Jason Jackson                      Jerry Colton                            John Patrick Lewis
Jason Joseph Treme Jr              Jerry Cotton                            John Pounders
Jason Keller Jr                    Jerry Gros                              John R Yates Jr
Jason Kirklin                      Jerry Jones                             John Robin
Jason M. Hinkel                    Jerry L. Krause                         John Robinson
Jason Malbrough                    Jerry Lee                               John Sakash Co.



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John Shackelford                  Joseph Guillory Jr                   Julius Steel
John Stuard                       Joseph Hoffman                       Justin A. St. Germain
John Swafford Jr                  Joseph J. Thoulion Jr.               Justin Allen Workmon
John W Mcneely                    Joseph Johnson                       Justin Falterman
John W Murray                     Joseph Jones                         Justin Jackson
John W Stone Oil Distributor      Joseph K. Williams                   Justin Kneupper
John W Thoms                      Joseph Lawrence                      Justin M. Clement
John W. Beaton, P. Eng.           Joseph Lopinto                       Justin R Schnyder
John W. Henry                     Joseph Montegut                      Justin S. Johnson
John Waltman                      Joseph Naquin                        Jyren J Lewis
Johnathan B. Johnson              Joseph Olivier                       Kadea M. Morris
Johnnie Munson                    Joseph P. Mancuso                    Kadrina E. Tappan
Johnny Andry                      Joseph Pecoraro                      Ka-Ji Construction, Llc
Johnny Hampton                    Joseph Perrilloux                    Kaleb Clement
Johnson Power Ltd                 Joseph Prescott                      Kanty C. Favorite
Joleen Marie Dickey               Joseph Ranson Jr                     Kanty Favorite
Jomo Joseph                       Joseph Reilly                        Kapell Anderson
Jon Boler Gibson                  Joseph Richardson                    Karen Gutierrez
Jonathan Anderson                 Joseph Roche Jr                      Karen Lynette Walker
Jonathan B. Guidroz               Joseph Roth, Iii                     Kary Alexie
Jonathan Braud                    Joseph Shano B 111                   Kasib Hakeem
Jonathan Brent Shilling           Joseph T Ryerson & Son               Katherine Rodas-Bejarano
Jonathan Echeverria               Joseph Tailor Davis                  Kathryn H Turner
Jonathan Johnson                  Joseph Taranto                       Kathy Lightell
Jonathan Kendrick                 Joseph Tinson                        Kathy Sessions
Jonathan Maus                     Joseph Travis Phillips               Kawanda L Thompson
Jonathan Rivera-Aviles            Joseph Waguespack Jr                 Kaymon Jones
Jonathan Rovira                   Josh Matherne                        Keachell L. Rixner
Jonathan Troxler                  Joshua A. Hargis                     Keith Charles Long
Jones Brothers Trucking, Inc      Joshua Ambrose                       Keith Fluker
Jones Walker                      Joshua B. Girdler                    Keith Hart
Jordan Carriers Inc               Joshua B. Scott                      Keith Joel Lutz
Jordan D. Cooke                   Joshua D. Arzu                       Keith Johnson
Jordan Logistics, Inc..           Joshua H Davis                       Keith Jones
Jordan T Friedrichs               Joshua J. Adams                      Keith Joseph Chouest
Jordan Zeringue                   Joshua Knecht                        Keith Juan Turner
Jorge A Diaz                      Joshua M. Weber                      Keith Kramer
Jorge Alberto Diaz                Joshua Michael Jernigan              Keith Matherne Jr
Jorge Alexander Caballero         Joshua Mosby                         Keith Porta
Jorge Diaz                        Joshua R. Grover                     Keith Ross
Jorge F Lanza                     Joshua Reid                          Keith Thibodeaux
Jorge Luis Patzan                 Joshua Sosa                          Keith Williams Jr.
Jorge Pineda                      Joshua Wagner                        Kelly Barrios
Jory L Bernard Llc                Joshua Williams                      Kelly General Construction Co Of
Jose A Torres-Henriquez           Jotun Paints, Inc.                   De
Jose Luis Ortega Torres           Jourdon J Sheldon                    Kelly Mabile
Jose Martinez                     Joy J. Byrd                          Kelly Orsak
Jose Perez                        Joyce Zeno                           Kelon R. Gardner Jr.
Jose Rivas                        Jrc Inc                              Kelsan Inc
Joseph A Holmes                   Juan A Perez                         Kelvin Jackson
Joseph Amedio                     Juan Carlos Deras                    Ken Williams
Joseph B. Waguespack Jr.          Juan Lastrapes                       Kendall Bovie
Joseph C. Hebert                  Juan Luis Munoz Lopez                Kendall Curtis
Joseph Centanni                   Juan Mansilla                        Kendall Esko
Joseph Charles Williams           Juan Smith                           Kendall Washington
Joseph Coig                       Juan Suarez                          Kendell Brown
Joseph D Bivona                   Juan Tejada                          Kennard Batiste
Joseph Danos                      Judah Sadler                         Kennet C. Montgomery
Joseph Darr                       Jules Armour                         Kenneth Beard
Joseph Darr Jr.                   Julio Arana                          Kenneth C. August
Joseph Dylan Sweeney              Julius Carter                        Kenneth Cambre
Joseph E. Casimier Jr             Julius Jones                         Kenneth Centola



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Kenneth D Knutson                   Kirk A Fisher                         Landon Electric Co., Inc.
Kenneth Delaneuville                Kirk A. Gaudet                        Landstar Inway Inc
Kenneth Eugene                      Kirk E Davis                          Lansing L Laurent Jr
Kenneth J. Naquin Jr.               Kirk Favorite                         Laplace Glass
Kenneth Lewis                       Kirk Gallagher                        Lard Oil Company, Inc.
Kenneth M Pitre                     Kirk J Lesassier                      Laron C. Numa
Kenneth Mitchell                    Kirk J. Saucier                       Larry Pitts
Kenneth Monchaud                    Kirk Jouty                            Larry Adams
Kenneth Muse                        Kirk Paul Usey                        Larry Austin Jr
Kenneth P. Sims                     Kirk Tassin                           Larry Baker
Kenneth Songy                       Kirk Trucking Service Inc             Larry Beasley
Kennith B. Brown                    Kirk Washington                       Larry Brown
Kenny Bossier                       Kme Germany Gmbh & Co. Kg             Larry C Williams
Kenny Gueret                        Knox Lee Iii                          Larry Cambre
Kenny Pipe & Supply Inc             Knoxville Bolt & Screw, Inc           Larry D Cooks
Kentucky Machine & Engineering,     Kobe D. Keller                        Larry D Jarrell Jr
Inc                                 Kobe J. Morris                        Larry Dixon Jr
Kentwood Spring Water               Kodiak Metals Recycling Nc.           Larry E Triche Jr
Kermit Michael                      Kone Cranes                           Larry Favors
Keron Craft                         Konecranes Inc.                       Larry Gilmore
Kerry J. Chopin                     Konecranes, Inc.                      Larry Gomez
Kerry L. Tyler                      Kostmayer Construction                Larry Henley
Kerry Lecompte                      Kpmg Llp                              Larry James
Kerry M. Brignac                    Kraig Lutz                            Larry James
Kerry Rodrigue                      Kresha Broden                         Larry Jim Omeara Jr
Kerry Warren                        Kristal L. Pierce                     Larry Joseph Levy
Kevin A Keating                     Kristine Rhoden                       Larry L Brown
Kevin Ausbrooks                     Krystal Bordelon                      Larry Labry
Kevin Boudreaux                     Kt Grant, Inc.                        Larry Mckinley
Kevin Courtney Bailey               Kurt Falterman                        Larry Merkel
Kevin Hingle                        Kurt Roussel                          Larry Robertson
Kevin J. Singleton                  Kurtlen Isaac                         Larry Rome
Kevin Jordan                        Kuzma Tesvich                         Larry Rowan
Kevin Lewis                         Kv Enterprise                         Larry Sandras
Kevin Lowe                          Ky Van Nguyen                         Larry Thibodeaux
Kevin M. Troescher Jr               Kyle Borne                            Larry Zeno Jr.
Kevin Michael Punch                 Kyle W. Johnson                       Lashante Q. Scott
Kevin Montz                         Kyle Wooton                           Latasha White
Kevin Oubre                         Kyron Kelly                           Laura B Hebert
Kevin Plaisance                     L & D Scrap                           Laura F. Hebert
Kevin Ponson                        L & K Metals Inc.                     Lavoris P. Dewey
Kevin Preston Sr                    L & L Ironworks Llc                   Lawrence A. Williams Jr.
Kevin Stein                         L & W Supply                          Lawrence Alford Jr
Kevin Stewart                       L J Dabney                            Lawrence Anthony Rome
Kevin Trahan Jr                     L&D Scrap Metal                       Lawrence Bienvenu
Kevin Twickler                      La Department Of Revenue              Lawrence Bolden
Kevin Williams                      La Dept Of Agriculture & Forestry     Lawrence Jackson
Kevin Williams                      La Scrap Metal Recycling Of B.R.      Lawrence James Iii
Keystone Logistics Inc              La Scrap Processors                   Lawrence James Jr
Khanh Van Nguyen                    La Wild, Llc                          Lawrence Johnson Jr
Khanhn Luong                        Lacardio Francis                      Lawrence Leo
Khris Pfister                       Lacorey A. Stevens                    Lawrence Noto
Kim Ackerman                        Laird Controls North America Inc      Lawrence Palmisano Iii
Kim Alexander                       Lakenya Webber                        Lawrence Sims
Kinder Morgan                       Lakeshia Anderson                     Lawrence Washington
Kinder Morgan Bulk Terminals, Inc   Lakeway Urgent Care                   Leaaf Environmental
Kindra Marine Inc                   Lakia Williams                        Leadar Roll, Inc
Kinetics Industries                 Lamar Griffin                         Leandria Johnson
King Of Freight                     Lamar Vinnette                        Leco Corporation
King Prince                         Lamco                                 Lee Ann Joseph
Kipo Llc Dba                        Lance M. Oncale                       Lee Belvin Jr
Kirby Darensburg                    Lance Pablo                           Lee Mcclure



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Leetsdale Industrial Ii             Lorenzo Haire                         Magnetech Industrial Serv
Legacy Logistics, Inc               Loretta Matherne                      Magnetek
Lemoine Marine Refrigeration        Lori Mistich                          Mahtook & Lafleur, Llc
Lennie L Valentine                  Lorraine White                        Maikel Diaz
Leo Williams                        Lotoya Mcgee                          Makada Transport, Inc
Leon Peyres Iii                     Louis Antoine                         Malcolm James Alford
Leonard Addison                     Louis Barousse                        Manny Randazzo King Cakes
Leonard Bridgewater                 Louis Certain                         Manuel Chox
Leonard Bychurch                    Louis Cook Iii                        Manuel Rodriguez
Leonard Clayton                     Louis Curt Pannagl                    Manuel Sagastume Enamorado
Leonard Green Iii                   Louis J. Parria Iii                   Manufacturing Repair And
Leonard James                       Louis Lipps                           Overstock
Leonard Williams                    Louis Mabry                           Marc A. Washington Jr.
Leonce Creppel                      Louis Phenix Iii                      Marc Washington Jr
Leotha Terrell Sr                   Louisiana Association Of              Marcel K. Joseph
Leroy Dalcour                       Louisiana Association Of              Marcella Vasquez
Leroy M Bossier                     Louisiana Dept Of Env Quality         Marcos A. Quintero
Leroy O Battiste                    Louisiana Machinery Co                Marcus Jackson
Leroy Stemley                       Louisiana Machinery Co Llc            Marcus M. Wren
Leroy Williams Jr                   Louisiana Office Products             Marcus Roark
Leslie B. Lauman                    Louisiana Truck Stop And Gaming       Marcus Terrell Hartley
Leslie Longmire Jr                  Louisiana Workforce Commission        Margaret Landry
Leson Chevrolet                     Loupe Construction & Cons. Inc        Maria Raquel Palacious Nevarez
Lester Cepriano                     Loy Gallicio Jr                       Marine Industrial Gears & Services
Lester Chopin                       Lucas Reyes                           Mario Frazzella
Lester Epherson Jr                  Lucien Eugene Galmiche 111            Mario Henderson
Lester Mcnicholas                   Lucshweitzer Hill                     Marion Nathaniel Reaves
Lester Polk                         Ludlum Measurements Inc               Maritime Compliance Intl
Letetia Mitchell                    Luis Enrique Gomez Madrid             Mark A. Morrison
Letitia Skidmore                    Luis Paz                              Mark A. Washington Jr.
Levern Simmons                      Luis Paz-Rodriguez                    Mark A. Young
Levi Bates                          Luis Rafael Rsoendo-Valerio           Mark Anthony Williams
Levy W. Simmons                     Luka Cvitanovic                       Mark Bailey
Lewill Gilmore                      Luke Bilich                           Mark Davis
Lhoist North America                Luke W. Oneal Jr.                     Mark Doming
Lifting Technologies, Llc           Luke Z Defelice Jr                    Mark Francois
Lincoln Financial Group             Lydelll Julien                        Mark Henry Davis Jr
Linda Lejeune                       Lyman Newsham                         Mark Spicer
Linda Robinson                      Lyncarl White                         Markedia A. Kent
Linkedin Corporation                Lynda Bowman Lester                   Markeith Gaines
Linsey Eckert                       Lynell W. James                       Marlene Johnson
Linton A Duet Jr                    Lynn M. Cahill                        Marlon Boudoin
Lionel Cook                         Lynn Romero Trucking                  Marshall W. Monica
Lionel Cross                        Lynnette M Bevrotte                   Marshall D. Gordon
Lisa Fabre                          Lynwell Wilson                        Marshall Hardee
Llj Environmental Construction      Lyons Consulting Group, Llc           Martha Campo
Lloyd Dupard                        M & L Industries, Llc                 Martin Felipe
Lloyd Ferdinand Jr                  M & M Electric Services Llc           Martin Jackson
Lloyd R. Binion Jr.                 M G Transport Services, Llc           Martin Luther Carey
Llt, Llc                            M. Brashem, Inc                       Marty A. Thibodeaux
L'observateur                       Mabel Williams                        Marvin Adams Jr
Logan A. Roussel                    Mac A. Mcclure                        Marvin J Jefferson
Logan M. Zimmer                     Mack Alexander                        Marvin Striplin
Loggins Logistics Inc               Mack Lee Jr                           Mary Davies
Logistic Dynamics Inc /             Mac's Auto Wrecking                   Mary Falgoust
Logistics Solutions International   Madeline Jefferson                    Mary Kay Brady
Long Law Firm                       Mae Donovan                           Mary Klein
Lonnie Brown                        Magellan Midstream Partnerslp         Mary Simmons
Lonnie J Desalvo                    Magellan Transport Logistics, Inc.    Mary Younger
Lonnie Lott                         Magna Refractaires Inc                Marzettet Brookins Jr
Lonnie Tassin                       Magna Refractaires Inc                Mason J. Lewis
Lorenzo Burns                       Magnesita Refractories Co.            Mason P Burke



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Massman Construction Co              Michael Fagan                          Montgomery Transport, Llc
Material Logistics Management, Inc   Michael French                         Monumental Transportations
Matheson Tri-Gas, Inc                Michael J Larousse                     Moore Medical
Mathew Blank                         Michael J, Chauvin                     More Srl
Matrix Service                       Michael Jackson                        Morgan Perrin Iii
Matrix Systems, Inc                  Michael John Tombow                    Morris E Williams
Matt L Keller                        Michael Johnson                        Morris Keith Judd
Matt Mccomber                        Michael Jones                          Morris Laiche
Matthew B. Muskevitsch               Michael K Doucet                       Morris Wells
Matthew Blank                        Michael King                           Moses Reid Jr
Matthew Bourgeois                    Michael Knight                         Motion Industries Inc
Matthew D. Spencer                   Michael L Ruffin                       Motion Industries Inc
Matthew Granier                      Michael L. Jenkins Jr.                 Mount Olive Babtist Church
Matthew Hedrick Iv                   Michael Matthews                       Mrc Global
Matthew Ross Matheny                 Michael Mclin                          Msc Industrial Supply Co
Maurice Chiasson                     Michael Meunier                        Msg Services, Llc
Mawson & Mawson Inc.                 Michael Morgan                         Mt Select, Llc
Maxon Corporation                    Michael Norton                         Mt. Airy Terminals Llc
Mayeuxs Ac Heating Inc               Michael Posey                          Multimedia Training Systems Inc
Mbi Rolls, Llc                       Michael R Burfict                      Munson W Lagarde
Mcc International                    Michael Reynaud                        Murphy & Mller, Inc.
Mcdonough Marine Service             Michael Richardson                     Murphy Clarks
Mcdouglas Gabriel                    Michael Saulino                        Murphy Petit
Mcjunkin Red Man Corp                Michael Shaw                           Murphy Taylor
Mckenzie River Software Llc Dba      Michael Soileau                        Mutual Of Omaha Insurance
Mcmaster Carr Supply Company         Michael Stephan                        Company
Mcs Engineering                      Michael T Christian                    Mutual Of Omaha Insurance
Meadow Lark Agency, Inc.             Michael T Duronslet                    Company
Meagan Stone                         Michael W. Garlington                  Mutual Of Omaha Insurance
Medima                               Michael Wayne Williams                 Company
Megacorp Logistics                   Michael White                          My It, Llc
Meghan M. Lewis                      Michael Wichers                        Myer Irvin Jr.
Melco Steel Inc.                     Michael Williams                       Myron Chapman
Melvin Fenroy                        Micheal Laurent                        Myron Chapman
Melvin Perrilloux                    Michel Cambre                          Myron Herbert
Melvinson Taveras                    Michelle Arceneuax                     Nadia E. Taylor
Merlin A Frickey                     Mid Continent Coal And Coke Co.        Nancy Gallardo Buendia
Merlin Gougisha Jr                   Midsouth Machine & Service             Nancy Jaccuzzo Trahan
Messer Llc                           Company                                Napa Auto Parts & Supplies
Metals Service Center Institute      Midwest Brake Bond Co                  Natasha Davis
Metals Usa                           Miguel A Giron-Romero                  Nathan Holmes
Metro Alloys                         Miguel A. Sotres                       Nathan Perritt
Metro Boating                        Miguel Angel Jovel Najarro             Nathan Ridge
Metropolitan Life Insurance Co.      Miguel Montoto                         Nathaniel Evans Jr
Metso Mineral Industries Inc         Mike Mavromatis                        Nathaniel Simmons Iii
Metso Minerals Industries, Inc       Milliman                               Nathaniel Vessell
Mhx Solutions                        Milton Hunter                          Nathaniel White
Mi Jack Products Inc                 Minerais U.S. Llc.                     Nathaniel Williams
Michael A Chavez                     Minerva Hawkins                        Nathin B. Schuessler
Michael A, Fernandez                 Minh Nguyen                            Nathis M. Burl
Michael A. Jackson                   Missy R. Oubre                         National Association Of
Michael Anthony Chinn                Mitchel Granger                        National Association Of
Michael Budgick                      Mitchell Beard                         National Electric Motor
Michael Burns                        Mitchell G. Dillon                     National Filter Media
Michael Burnum                       Mitchell's Contracting Service, Llc    National Metal Trading
Michael C Lipps                      Ml Metallurgy Llc                      National Oilwell Varco, Lp Dba
Michael Ceasar                       Modern American                        Neil Cazes
Michael Ceaser                       Modern Machine And Grindi              Nelson Espinales
Michael Celestin                     Modern Metals Recycling, Llc           Nelson Frank
Michael Corona                       Modern Transport Network Llc           Nelson J. Schexnayder Jr.
Michael D. Chisholm                  Mohammad Munawar                       Nelson Ponchie
Michael D. Sanders                   Montel Coleman                         Nelvia Armstrong



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New Gen Products, Llc                Oscar Gallardo                       Pedro Luis Gonzalez
New Orleans Aggregate                Oscar Garcia - Sifuentes             Pelichem Industrial Cleaning Servic
New Orleans Public Facility Mgmt     Oscar Lindsey                        Pension Benefit Guaranty Corp
In                                   Oscar Velasquez                      Peoples Gas
New Wine Development                 Oscarr Orlando                       Peoria Barge Terminal
Nfl Trucking Llc                     Otis Kenner Jr                       Percy Burns, Jr.
Nicanor Llorente                     Ova Domino                           Percy Warren
Nicholas Coleman                     Overhead Door Co                     Perry Ceaser
Nicholas Gaudet                      Overhead Door Co                     Perry Dugas
Nicholas Ropollo                     Overhead Door Co                     Perry Henderson
Nicholas Roppolo                     Overhead Material Handling           Perry Morgan
Nicholaus A. Johnson                 Oxylance Corporation                 Pershing Toney
Nick Metal Recycling                 P&A Group                            Peter Abbate
Nidec Industrial Solutions           P&S Transportation Inc               Peter E. Johnson
Nikeisha A. Thompson                 Pable Meza Ramirez                   Peter J Mitchell
Noah Louis Rivet                     Pablo Meza Ramirea                   Peter Nguyen
Nol Boutte                           Pablo Meza Ramirez                   Peter Riley
Nola Steele Fabrication & Erection   Pablo Romero                         Peyton A. Fabre
Nolan Mcintyre                       Pac Stainless Ltd                    Pgt Trucking, Inc
Noles Lawrence                       Pacific Foundry Company              Philip E Templet
Norfolk Southern Rr                  Pac-Man Auto Crushers Inc            Philip J Markey
Norman Lumber Company                Paladin Freight Solutions            Philip J. Betz
Norris & Son, Inc                    Pala-Interstate Llc                  Philip J. Troxclair
Norris Cheramie                      Pannier Corporation                  Philip M. Pawlicki
North American Construction          Parker Scrap Metal                   Philip Mitchell, Jr.
North American Steel Alliance        Parker Wilkins                       Philip Troxclair / Petty Cash
Northside Auto & Truck Salvage       Partek Laboratories, Inc             Phillip J Brenckle
Northside Recycling                  Parts You Pull                       Phillip J. Oddo
North-South Delivery Llc             Pascal Romano                        Phillip Joseph Brenckle Jr
Norton Company / Dba Saint           Pasko Piacun                         Phillip Lecompte
Novarrell Woodfork                   Patricia Ruffin                      Phillip M. Ellis
Nu Lite Electrical Wholesalers       Patrick Frazier Jr                   Phillip Vicknair Jr
Nyalasha T. Brown                    Patrick Haydel                       Phong Hoang Ngo
O Neal Steel Inc                     Patrick Kenneth Schmidt              Phu Do
Oakley Barge Line Inc                Patrick M Bonvillion                 Pi&I Motor Express
O'brien Steel Service                Patrick R. Lambert                   Pico Chemical Corp
Ochsner Health System                Patrick Sellers                      Pierre A. Dufrene
Ocmet, Inc.                          Patrick West                         Pinnacle Polymers
Ohio Transport Corp                  Patrick Williams                     Pipe Works
Oil Skimmers Inc                     Paul A Bonnet Jr                     Pip's Iron Works, Inc
Oliver Comber Jr                     Paul A. Howard                       Pitney Bowes Global Financial
Oliver H Van Horn Co Inc             Paul Bellow                          Pitney Bowes Purchase Power
Oliver J. Augillard                  Paul Bordelon                        Pls Logistics Services
Oliver Johnson                       Paul C. Mccord                       Plunkett Energy And Industrial
Olvin Mendoza                        Paul Cosma                           Pme Babbitt Bearings
Omar A. Rodriguez                    Paul Dennis Dupont                   Point Eight Power
Omega Engineering Inc                Paul E Landry Jr                     Pont. Metals & Salvage Llc
Omni Source Corporation              Paul J. Whipple                      Pontchartrain Levee District
Ondrea Jones                         Paul Lott                            Pontchartrain Material Co.
Oneil Oubre                          Paul Mayho                           Positive Results Inc
Onel J. Malbrough Jr.                Paul Mayho                           Postlethwaite & Netterville
One-Tim'e Vendor                     Paul Steward                         Pot-O-Gold
Opta Minerals (Elyria)               Paul Transportation, Inc.            Praxair
Oracle Corp                          Paul Victor                          Precision Metals Inc
Orient Machining And Welding         Paul Wempren                         Premier Fabrication, Llc
Corp                                 Paula Bilich                         Premier Logistics
Orlando Sanders                      Paulette Girdler                     Preston Allen Frank
Ormel H. Williams                    Pc Campana Inc                       Preston J Volpi
Ornell E Mcpherson                   Pc Connection Sales Corporation      Preston L. Upton
Osahon Boyd                          Peak Ryzex Inc                       Preventive Maint.Consultants
Oscar Beasley                        Pedal Valves Inc                     Primetals Technologies Mexico
Oscar Dupre, Jr                      Pedro Beltran Rodriguez              Primetals Technologies Usa Llc



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Princeton Tmx                      Randy Causin                          Richard A. Robinson
Process Barron                     Randy Keating                         Richard Bowser
Process Technology Intl            Randy Mcclung                         Richard Comber
Professional Patio                 Randy Miller                          Richard Davis
Proformance Enterprise             Randy Sylvan                          Richard Do
Proler Southwest Inc.              Randy Trahan                          Richard Foret
Protera Technologies, Inc.         Raneldo K. Evans                      Richard Gomez
Protrade Steel Company, Ltd        Rashon Weatherstrand                  Richard Gouge Dba
Public Service Company Of Ok       Rasmussen Equipment                   Richard J. Cambre
Pull A Part                        Ray Dantzler                          Richard Keller
Pullens Auto Salvage/Recycling     Ray J Poche                           Richard Mackenzie
Pulse Technology                   Ray Klein, Inc.                       Richard Marino
Puroclean                          Ray Roussel                           Richard Penwright
Quad Engineering Inc               Ray Trosclair                         Richard R. Martin
Quality Bolt And Screw             Rayanna M. Temple                     Richard Robin
Quality Cast Industrial Products   Raydell Scott                         Richard T. Smith
Quality Industrial Const, Llc      Rayfield Johns                        Richard Tyler
Quality Machine Manufacturing      Raymond C. Washington                 Richard Watler Jr.
Quality Machine Works              Raymond Cowperthwaite                 Richard Whitefield
Quan Hong Huynh                    Raymond Etienne                       Richard Zeller
Quang Nguyen                       Raymond Moran                         Richer Pak
Quantum-Pm Llc                     Raymonte C. Dantzler                  Richie V. George
Quentin O. Durio                   Rayon Craft                           Rick J. Bleakley
Quick Recovery Auto Salvage        Rebekkah Marie Abreo                  Ricketta Lee
Quin D. Brewer                     Rebekkan Marie Abreo                  Rickie J Doucet
Quoc Duc Le                        Red D Arc                             Ricky Bailey
R And D Enterprises Of Gulf        Red Wing Store - Baton Rouge          Ricky Brooks
Region                             Redwick Carrington                    Ricky Carl Southall
R C Ratliff                        Reed Transport Services, Inc.         Ricky Diggs Jr.
R&R Express, Inc                   Refractories Inc                      Ricky Hampton
Rachel Powell                      Refractory Sales & Service Co, Inc.   Ricky Joseph Tamburo
Rad Com Systems Corp               Reginald D. Haralson                  Ricky Madere
Radiametrics Technologies          Reginald Ferrygood                    Ricky Ross Jr
Radondo R Jones                    Reginald Perrilloux                   Ricky Suire
Rafael Cordoves                    Reginald Perrilloux Jr                Ricky Tassin
Rafael Rodriguez                   Reinaldo P Aparicio                   Ricky Troxler
Rail Scale Inc                     Reladyne Reliability Services, Inc.   Rico Lumar
Rainbow Chevrolet                  Reliable Fire Equipment Company       Right Away Maintenance Co Llc
Ralaef Cordoves                    Reliant Recycling Inc                 Riley Darnell Davis
Ralph Perry                        Relyant                               Rips Safety Training & Consult Llc
Ralph Schexnayder                  Remond Forbes                         Ritchard J Herring
Ralph Shelby Jr                    Renaldo Anderson                      River Barge Works, Llc
Ramelli Waste                      Renard J. Markey                      River Birch Inc
Ramon Enrique Tejada               Rendy Austin                          River Birch Landfill
Ramon M. Jackson                   Rene Michael Henry                    River Construction Co.
Ramon M. Jackson                   Repolen White                         River Parish Contractors Inc
Ramon Mcdonald                     Republic Services                     River Parish Contractors Inc
Ranard Brown                       Republic Services #264                River Parishes Oil Co
Randal Lutz                        Republic Services #721                River Region Chamber
Randall Frank                      Rescar, Inc.                          River Rental Tools
Randall J Freeman                  Resco Products Inc                    Riverbend Transport
Randall Nova                       Reserve Telecommunications            Riverlands Terminix
Randall Stuart Kinchen             Resource Power Group                  Rmi, Inc.
Randell Thomas                     Reuel Griffith                        Roane Co Public Utility
Randolph Dennis                    Reuning Mckim, Inc                    Roane County News
Randolph Jones                     Rex M. Howell                         Roane County Trustee
Randolph Martin                    Rfx, Inc                              Roane Transportation Services, Llc
Randolph Russell                   Rhi Us Ltd                            Robby Hymel
Randolph Simon                     Rhonda Hogan                          Robeert Morton Jr
Randy Agee                         Ricci J Macera                        Robert A Robichaux Jr
Randy Allen                        Ricco H. Wheat                        Robert Ahlborn
Randy Bellow                       Richard A. Labat                      Robert Archambault



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Robert Bradley                    Roger J. Borne Iii                    Roy Pidgeon
Robert Brown                      Roger Mathis                          Roy Williams
Robert Brown                      Roger S. Kelley                       Royal Phoenix
Robert Burke                      Rogers County Treasurer               Ruan Transportation Mgmt. System
Robert D Murray                   Rogers Davis                          Ruben Reyes
Robert E Abadie Iii               Rogers Davis Jr                       Rubicon Refractories, Inc
Robert Ferrygood                  Rogers Petroleum                      Ruddy Chirino
Robert G. Webb                    Rogers Stubberfield Jr.               Rudy Hill
Robert Gilbert Jr                 Rohan Davis                           Ruelco Inc.
Robert Gilmore                    Rohan Delano Burnett                  Ruffin Mcshellum
Robert Griffith                   Roin Richard                          Ruffus Allen
Robert Guccione                   Roland A Bergeron                     Rupert Dinvaut Iii
Robert Hamilton                   Roland Brown                          Russ Gros
Robert Hill                       Roland Brown Jr                       Russell Brown, Sr.
Robert J. Connolly                Roland Keller                         Russell Charles Gourgeot
Robert J. Oshinski                Rolando Cuevas Jr                     Russell J. Loupe
Robert Johnson                    Roley Barthelemy                      Russell L. Marse Jr.
Robert Johnson                    Roll Tooling Specialists              Russian Ferro Alloys, Inc.
Robert Kaigler                    Romalis Williams                      Ryan Bordelon
Robert L Jorden                   Romero Malancon                       Ryan Bowen
Robert L Perkins                  Rome's Recycling Llc                  Ryan Daniels
Robert L. Hassell                 Ron M Marshall Jr                     Ryan Delatte
Robert L. Reynolds                Ron Richard Girod                     Ryan Frank
Robert Lebouef                    Ronald A Brown                        Ryan P. Louque Jr.
Robert Lee Davis                  Ronald A Campbell                     Ryant Detiege
Robert Legendre                   Ronald A. Dufrene                     Rydell Bienaime
Robert Lindsey                    Ronald Allen                          S & B Industrial Contracting Inc
Robert Lorant Jr                  Ronald Anthony Brown Jr               S & S Mechanical Services
Robert M Bozzelle Jr              Ronald Bourgeois Jr                   S D Myers Llc
Robert M Robinson                 Ronald Bradford                       S.E.S., Llc
Robert M. Swancey                 Ronald Buras Jr                       Sadien N. Sadaiappen
Robert Mctyre                     Ronald Chadwick Jr.                   Safe T Systems Inc
Robert Perrin                     Ronald Darensbourg                    Safety Kleen Corp
Robert Pollard                    Ronald Gordon Jr                      Safety Shoe Distributors, Llp
Robert Refrigeration Service      Ronald J. Chilton                     Salvador Majoria
Robert Ricks                      Ronald James Breaux                   Salvador T Organo Ii
Robert Sears Iii                  Ronald Jones                          Salvadore Michael Cook
Robert Taylor Iii                 Ronald Lewis                          Samer Tamimi
Robert Unfried                    Ronald Navarre Jr                     Samuel Alexander
Robert Vaughn                     Ronald R Graves                       Samuel Crabtree Jr
Robert W. Haywood                 Ronald Schexnayder                    Samuel E. Warren Jr.
Robert Walker                     Ronald Walker                         Samuel Hedrington
Robert Williams                   Ronald Williams                       Samuel Mcdonald
Robert Willis                     Rondell Diggs                         Samuel Ridgley Jr
Robert Zilmar Richardson          Ronnie Carter Riley                   Samuel Sander
Roberto A. Romero                 Ronnie I. Paniagua-Garcia             Samuel Vinnett
Roberto C. Torres                 Ronnie M. Turner                      Samuel Williams
Roberto G. Olguin                 Ronnie Verrett                        Sandas James Turner Jr
Roberto Martinez Santos           Rontego Gordon                        Sandifer's Auto Crushers
Rochester Iron And Metal, Inc.    Rony E Acosta                         Sandra Poche
Rockwood                          Ronyell D. Washington                 Sandy R. Reid
Rockwood City Recorder            Roosevelt Johnson                     Santos Calix
Rodney Casimier                   Rory Marse                            Sap America, Inc.
Rodney J. Enclade                 Rose Mary Silvestri                   Sarah A. Vizcaino
Rodney Marshall                   Rosetta Stone Ltd                     Sb Lone Star Diversified, Llc
Rodney Poche                      Roto Rooter Plumbing Co               Schilli Transportation Services Inc
Rodney Schexnayder                Roxanne M. Thomas                     Schriever Auto Parts
Rodney Walker                     Roy A. Hebert                         Schron M. Labranche
Rodrick A. Lee                    Roy A. Mitchell                       Schweitzer Rolling Technology,
Roehl Flatbed & Specialized       Roy D. Mcwhorter Ii                   Inc.
Roger Batiste                     Roy Hebert Jr                         Scioneaux Llc
Roger Catoire                     Roy J. Mitchell                       Scott A. Himel



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Scott A. Madere                  Signode Corporation                   State Police
Scott A. Rusis                   Silvana Reina                         Stauffer Glove Safety
Scott Anthony Ryals              Sim Nellon                            Stcs Llc
Scott Armature                   Simone M Gamble                       Steel Dust Recycling, Llc
Scott Armature Sales &           Sirena C. Julien                      Steel Logistics, Inc
Scott Armature, Llc              Sixto Souto                           Steel Manufacturers Association
Scott Baudoin                    Skkb Enterprises, Llc                 Steinert Us Llc
Scott G. Bourcq                  Slade Miller                          Stephen Fabre
Scott Gaspar                     Smartway Transportation, Inc          Stephen Guidry
Scott Glenn Company, Llc         Sme Sales & Service, Inc.             Stephens Harris Associates, Inc.
Scott Mullen                     Smith Services Inc                    Stericycle Inc
Scott N Chiasson                 Sms Concast Canada Inc.               Stericycle, Inc
Scott Trist                      (Accumold)                            Sterling Messenger
Scottie L Becnel                 Snowcreek Trucking                    Sterling Miller
Scottie Schouest Jr              Sollon Scott Iii                      Sterling Stewart
Scrap Connection                 Sonny Charles Sprunk                  Steve Turnage
Sean Christian Salassi           Sonny Hemard                          Steven Bourgeois
Sean Croy                        Sopus Products                        Steven Cambre
Sean Gauthreaux                  Source Production Equip               Steven Chapron
Sean Mcelwee                     Southern Alloy Corp                   Steven Dale Horn
Sebastian Dematteo               Southern Chem Industries              Steven Duhe
Sebastian J Malin                Southern Haulers Co., L.L.C.          Steven Fletcher
Secretary Of State               Southern Pipe Supply Co Inc           Steven Granger
Serge Ngango-Ngollo              Southern Power Systems                Steven J. Ellis Jr.
Setco Inc                        Southern Recycling, Llc               Steven M. Geraci
Seth Patrick Desalvo             Southern Refrigeration Inc            Steven Matthews
Seth Rome                        Southern Stud Weld Inc                Steven Ruiz
Shairo I Jackson Jr              Southern Surplus Services Llc         Steven W. Jackson
Shane Leboeuf                    Southern Synergy                      Stevie Bush
Shane Remondet                   Southern Tank & Mfg. Inc.             Stewart M Beatty Ii
Shannon A. Mcfall                Southland Fire & Safety               Stewart Smith
Shannon C. Aucoin                Southwestern Graphite Co              Stowers Machinery Corp.
Shannon Casillas                 Spectrum Systems Inc                  Stowers Rental Supply
Shannon J. Breaud                Spencer Wills                         Strickland Trading Inc.
Shannon Ventura                  Spraying Systems Co                   Stuart D. Sanchez
Sharon Eugene                    Sps Commerce, Inc.                    Studdard Scrap Metal Recycling
Sharrone Scott                   St John The Baptist Parish            Sudden Service Inc
Shaun M. Vancamp                 St John The Baptist Parish            Sulzer Turbo Serv No Inc
Shawanda Marie Gaines            St Rosalie School                     Sunbelt Transformer
Shawn A Clark                    St. John Mosquito Control             Sunflower Construction
Shawn Chess                      St. John Parish Business Assocation   Sunline Commercial Carriers Inc
Shawn Gerhart                    St. John Parish Roads & Bridge        Sunsource
Shawn James Lester               St. John Parish Tax Collector         Superbolt, Inc
Shawn K Pease                    St. John Sheriff Dept                 Suzanne Gallaway
Shawn Lewis Jr.                  St. John The Baptist Parish           Sylvester Johnson
Shawn Plaisance                  St. John The Baptist Parish           Sylvester Joseph Brown
Shayne Cooke                     Stacey Efferson                       Sylvester Leblanc
Shayne Milton Cooke              Stacy G. Allee                        Sylvia Leavey
Shell Energy North America       Standard Crane Hoist Llc              Symone L. Mckinney
Shelton C. Williams Jr.          Standard Laboratories, Inc            T & H Trucking Inc
Shelton Valentine                Stanely Smith                         Ta Services Inc
Shen Joseph                      Stanley D. Beard                      Tabathia Gauthier
Shenell M. Brown                 Stanley Henderson                     Tabetha Graves
Sheriff's Office                 Stanley M Deeke                       Taino Trucking Llc
Sherman Smith                    Stanley M. Sisk                       Takiyah Dunbar
Sherman Watkins                  Stanley Smith                         Tallgrass Freight Co, Llc
Shi International Corp.          Stanley Stewart                       Tamira Thiele
Shurco Llc                       Stanley Thibodeaux                    Tammy Pruitt
Sidney Anderson Jr               Star Glass Incorporated               Tanya Bennett
Sidney Goudeau                   State Machinery                       Tanya Payne
Sidney R. Joseph                 State Of Louisiana                    Tanyon Thomas
Signal Metal Industries          State Of Washington                   Tanza Robertson



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Tapco                              The Medicine Shoppe                  Todd J. Cruse
Tasha J. Washington                The Personnel Consulting Group       Todd Treadaway
Tat V Le                           The Reynolds Company                 Todd Walker Jr
Taylor A. Legrange                 The Sherwin Williams Company         Todd Williams
Taylor Enterprises Inc             The Three C's Properties Inc         Tokai Carbon Ge Llc
Taylor M. Gorman                   Theodore Garton                      Tom Houston Laney
Taylor Machine Works Inc           Theodore H. Montgomery               Tommie L Robins
Taylor R. Falgoust                 Theodore W Thomas                    Tommie Williams
Tazman S. Anderson                 Theran M Johnson                     Tommy L. Thomas
Tdi Group, Llc                     Theresa Garrison                     Tommy Lepine
Tea Svetlanovic                    Thermo Electron North America Llc    Tommy Thompson
Tech Usa, Llc                      Thibodeaux & Son Scrapyard           Tommy Wayne Johnson
Technical Environmental Services   Thien T Nguyen                       Toni Borne
Technos Inc                        Thiron L. Carr                       Tony Bennett Enterprises Inc
Ted Laurent                        Thomas A Williams                    Tony Bychurch
Ten M Vending                      Thomas A. Hoyal                      Tony Coulter Jr
Ten M Vending                      Thomas A. Nasser                     Tony J Viola
Tencarva Machinery Co              Thomas A. Pittman                    Tony's Towing
Tennessee Associated Elec          Thomas Adams                         Tori Manger
Tennessee Department Of            Thomas Breaux                        Torque, Inc
Tennessee Dept Of Revenue          Thomas D. Boyd                       Torrey Parquet
Tennessee Handy                    Thomas Daniels                       Tory Cargo
Tennessee Sling Center             Thomas Fluence                       Total Quality Logistics, Llc
Tennessee Steel Haulers Inc        Thomas G. Morel                      Towlift Inc
Tenova Inc.                        Thomas Gelpi                         Trac-Work, Inc.
Terchelle Dorsey                   Thomas Jones                         Tramaine Deshun Chapman
Terence J. Rose                    Thomas L Robinson                    Travelers
Teresa Lomonaco                    Thomas Lavigne Jr                    Travelers Indemnity Co.
Terrance Q. Marshall Jr.           Thomas Lynn Martin                   Travion Butler
Terrance T. Linton                 Thomas M. Foster                     Travion T. Bourgeois
Terrance Trell Videau              Thomas Reardon Jr                    Travis Cambre
Terrell J Luke                     Thomas U Brown                       Travis L. Cambre
Terrell Jackson                    Thomas Wibel                         Travis M. Sharlow
Terren Cook                        Thornton, Musso, & Bellemin, Inc.    Travis Simmons
Terrence Jude Thomas               Tilden Perez Jr                      Travis Williams
Terrence Placide                   Timmy Allen Labranche Jr             Traxys
Terrence Taft                      Timothy Albritton                    Tre'darrian Burse
Terrence Wolfe                     Timothy Bouzigard                    Tremaine J. Bailey
Terri Hebert                       Timothy Bouzigard Jr                 Tremaine R. Ausbon
Terri Lynn Randall                 Timothy Coleman                      Trent Mallard Jr
Terri Randall                      Timothy D Matherne                   Trevin Williams
Terry Brown                        Timothy John Sasso                   Trevor A. Foret
Terry Hebert                       Timothy John Schotsch                Tri Coastal Trading Llc
Terry J. Rodrigue                  Timothy Parker Jr                    Tri County Parts & Equipment
Terry J. Rodrigue Jr.              Timothy R White                      Tri Miss Services
Terry John Leonard Jr              Timothy Rising                       Tri State Hydraulics
Terry L. Scott                     Timothy Robinson                     Trident Transport Llc
Terry M Kuchler                    Timothy Scott                        Tri-Miss Services
Terry Rising                       Timothy Stout                        Trinity Industries Leasing Company
Terry Roche                        Timothy Thomas                       Trio Compressed Air
Terryl J Tolliver                  Timothy Vidal                        Troy A Sevin Sr
Texas Comptroller Of               Timothy W Lee                        Troy Bergeron
Thaddaus M. Williams               Timptha Laurent                      Troy Everson
Thaddues R. Smith                  Tim's Tire Service                   Troy Gros
Thanh Hoang Ngo                    Tina Baudoin                         Troy Malbrough
Thanh Huu Chau                     Tjm & Co                             Troy Perrin
The David J Joseph Company         Tms International, Llc               Troy Sevin
The David J Joseph Company         Tn Dept Env Conservation             Troy Williams
The J. M. Smucker Company          Tn Dept Of Envir Conserv             Truck Pro, Llc
The J.M. Smucker Company - Old     Toan G Huynh                         Trudy Lepine
Gent                               Toan Nguyen                          Trw Metallurgical Engineering
The Mcginnis Lumber Co, Inc        Toby Miller                          Tt Barge Cleaning Inc



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Tulsa Crane Werx                    Vinco Ironworks                      Wesley W. Powe
Tulsa Port Of Catoosa               Vinson & Elkins, Llp                 Western Express Inc
Tyler Frechette                     Vital Health Screenings              Wheeler Stagger
Tyler Paul Sevin                    Vondell Batiste                      Whitney Vicknair Jr.
Tylor M. Oubre                      Voodoo Disposal                      Wilbert Bradford
Tyran Denys                         Vu Hoang Ngo                         Wilbert Sturdivant
Tyron Anthony Mouzon                Wade A. Thompson                     Wilbert Walker, Jr
Tyron Downing                       Wade J.Plaisance Jr.                 Wildcat Logistics Llc
Tyrone Fidelis Wilson               Wade Manning                         Wilfred A. Wyman
Tyrone Hudson                       Wageworks Inc                        Wilfredo Fajardo
Tyrone's Detailing & Wrecker Ser.   Waldemar S Nelson Co In              William Allen Randall Lorenzo Jr
Ulises Martinez                     Wali Wendell Williams                William Brown Iii
Ulyses C Smith                      Walker National Inc                  William D. Poolson
Umb Bank, N.A.                      Wallace Martin Jr.                   William David Borne
Umecc                               Walter A Bodden                      William E. Howard Jr
Unifirst Corporation                Walter Eugene Gordon Jr              William Gianelloni
Union Pacific Railroad              Walter Gordon Jr                     William J Bourgeois
Union Pacific Railroad              Walter James                         William Johnson Jr
United Motor Freight                Walter L Maggard                     William Jones
United Rail Service, Llc            Walter Lee Maggard Jr                William Kirksey
United Rentals                      Walter T. Bernard                    William L. Sharon Jr
United Rentals                      Walter W Williams                    William Leblanc
United States Treasury              Wanda J. Watts                       William Lindner
United Steelworkers Of America      Wanda J. Zajicek                     William Mays
Unitedhealthcare                    Waris Aquil Sabree                   William Mccarter
Universal Coil Manufacturing        Waris Sabree                         William Nellon
Universal Supply & Equipment        Warren C Williams                    William Newton
Universal Truckload Inc             Warren Dixon                         William P. Fairchild Iii
Ups                                 Warren E. Joseph                     William P. Fairchild Iv
Uriel Young                         Warren Elliot Marse                  William Paynes
Us Dol-Osha                         Warren Joseph                        William R. Barber
Us Treasury - Nas Jrb New Orleans   Warren Pierre                        William R. Mouret
Usc Castings, Llc                   Warren T. Irvin                      William Reece
Vahle, Inc.                         Warren Wilson                        William Schell Iii
Valero St. Charles Refinery         Washing Equipment Of Tn              William Scott
Valve And Filter Corporation        Waste Connections Of Tn, Inc         William Shano Iii
Van Tran                            Waste Management Of                  William Sharon
Vecta Enviromental Service Llc      Waste Pro                            William Sumlin
Velda Refuge                        Watco Supply Chain Services, Llc     William Thomason
Veloris Holmes                      Waylon Frank                         William Trahan Jr
Veolia Water Solutions &            Wayman Frost                         William Whitney
Verizon Wireless                    Wayman L. Frost                      William Woljevach
Vernell Collins                     Wayne Alford                         Williams Door Company, Inc.
Vernon Adams                        Wayne Bordelon                       Willie Broadwater
Vernon Alexander                    Wayne Fisher                         Willie Gray
Vernon Anderson                     Wayne Greenup                        Willie Harris Jr
Vernon Charles Allen                Wayne Lewis                          Willie Marshall Jr
Vertex Recovery Management          Wayne Matherne Jr                    Willie Noel
Vesuvius Usa                        Wayne Mitchell                       Willie Roche
Victor Bustillos                    Wayne Morris                         Willie Taylor
Victor Caronna                      Wayne Quinn                          Willie Taylor
Victor Culpepper Environmental,     Wayne Townsend                       Willie Taylor Iii
Llc                                 Waynisha Bass                        Wilson Goffner
Victor Moawad                       Wb Scrap Llc                         Wilson Grayman
Victor Nunez                        Wc Of Louisiana                      Wilson Wade
Victor Olivares-Grullon             Wells Fargo Bank Na                  Winkle Industries Inc
Vijay H. Gohil                      Wendel B. Gillan                     Womack Machine Supply Co
Vincent Garcia                      Wendell Frederick                    Workcare, Inc.
Vincent Gilmore                     Wendell Green Jr                     Worldwide Express
Vincent Jones                       Wendy Wall                           Worldwide Integrated Supply
Vincent W. Davis                    Wes Walker                           Wti Transport
Vincent W. Davis                    Wesco Distribution                   Xpress Recycling Inc



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Yat's Electrical Service Llc
Yecenia Tejeda
Yennyfferd Lopez
Yogi Wegmann
Yolanda F. Williams
Yolanda J Chaffin
Yolanda S Scott
Yuri Keith Jones
Yusney Cardoso-Cedeno
Zachary Lee
Zdzislaw Smolinski Jr
Zenar Corporation
Zengistics
Zen-Noh Grain
Zephyrain Vicknair
Zeruah Z Melecio
Zircoa Inc
Ziyad Abdelrahim Isa

Unions
United Steel, Paper and Forestry,
Rubber, Manufacturing, Energy,
Allied-Industrial, and Service
Workers International Union




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